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 1                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
 2                            EASTERN DIVISION

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 4    Wai Man Tom,             -   Docket No. 5:17-cv-98-FL
                               -
 5       Plaintiff,            -    New Bern, North Carolina
                               -    April 24, 2018
 6           v.                -    Motion Hearing
                               -
 7    Hospitality Ventures,    -
      LLC, et al.,             -
 8                             -
         Defendants.           -
 9    -------------------------------

10                      TRANSCRIPT OF MOTION HEARING
                BEFORE THE HONORABLE LOUISE WOOD FLANAGAN
11                     UNITED STATES DISTRICT JUDGE.

12    APPEARANCES:

13    For the Plaintiffs:         Gilda A. Hernandez
                                  Michael B. Cohen
14
      For the Defendant:          John R. Hunt
15                                Jordan D. Fishman
                                  Susanna Gibbons
16                                Debbie DeWar

17    Court Reporter:             Tracy L. McGurk, RMR, CRR
                                  413 Middle St.
18                                New Bern, NC 28560
                                  (419) 392-6626
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23    Proceedings recorded by mechanical stenography,
      transcript produced by notereading.
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00:34:01    1                    (Commenced at 9:21 a.m.)

00:34:01    2                    THE COURT:      Good morning.      Would the clerk

00:34:02    3    call the calendar.         And, counsel, I'll invite you to

00:34:06    4    introduce yourselves on the record.

00:34:09    5                    THE CLERK:      The Court calls for motion

00:34:10    6    hearing the case of Wai Man Tom versus Hospitality

00:34:14    7    Ventures, LLC, doing business as Umstead Hotel and Spa,

00:34:19    8    SAS Institute, Inc., and NRC Cuisine Ventures doing

00:34:25    9    business as An Asian Cuisine, case 5:17-CV-98 FL.

00:34:32   10                    THE COURT:      For the plaintiff?

00:34:34   11                    MS. HERNANDEZ:       Jill Hernandez for the

00:34:39   12    plaintiffs.

00:34:39   13                    MR. COHEN: Michael Cohen for the plaintiffs.

00:34:42   14                    MR. HUNT:     John Hunt for the defendants.

00:34:45   15                    MS. FISHMAN:      Jordan Fishman for the

00:34:47   16    defendants.

00:34:48   17                    MS. GIBBONS:      Susie Gibbons for the

00:34:53   18    defendants.

00:34:54   19                    THE COURT:      You've got your paralegal

00:34:55   20    between you.       And who is behind you?

00:34:55   21                    MS. DeWAR:      Good morning, Your Honor.

00:35:04   22    Debbie DeWar, in-house counsel.

00:35:06   23                    THE COURT:      Did you want to sit at the

00:35:08   24    table?

00:35:09   25                    This is plaintiff's motion.           The Court is




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00:35:10    1    familiar with the paperwork that's been submitted in

00:35:13    2    support and in opposition to it.

00:35:15    3                    Is there anything you want to highlight in

00:35:17    4    opening statement, Ms. Hernandez?

00:35:18    5                    MS. HERNANDEZ:       Yes, Your Honor.           Thank you

00:35:19    6    very much.      First and foremost, thank you so much for

00:35:23    7    hearing the plaintiff's motion on an emergency basis.

00:35:25    8    I'd also like to introduce the Court to the witness for

00:35:28    9    the plaintiffs, Mr. Justin Dillon, who is here to answer

00:35:31   10    any questions that the Court may have.

00:35:35   11                    Your Honor, just a little bit of background.

00:35:37   12    Obviously the Court knows that on March 15, 2018 the

00:35:40   13    plaintiffs filed a motion for a conditional class

00:35:43   14    certification pursuant to the FLSA and Rule 23.

00:35:47   15                    On March 19, Your Honor, plaintiff's counsel

00:35:50   16    learned that while this action has been pending for over

00:35:52   17    one year, and a motion for conditional class

00:35:56   18    certification was pending, defendant's counsel engaged

00:35:59   19    in potentially improper communications with putative

00:36:02   20    plaintiffs and class members.

00:36:03   21                    Specifically on March 19, 2018, we received

00:36:06   22    a phone call from witness, Mr. Justin Dillon, whom

00:36:10   23    plaintiff's counsel had never spoken with before or met

00:36:14   24    in person up until the 19th.            We received a phone call

00:36:17   25    from him -- he is not an opt-in plaintiff at this time,




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00:36:22    1    but he is a putative Rule 23 class member -- indicating

00:36:25    2    that he had been contacted by defendant's counsel whom

00:36:28    3    he later confirmed represented defendant An.                    He

00:36:31    4    contacted us and stated that he had just finished

00:36:34    5    meeting with the attorneys who he later confirmed or

00:36:37    6    understood represent defendant An.

00:36:40    7                    According to Mr. Dillon, Your Honor, after

00:36:42    8    speaking with counsel for defendants he walked away

00:36:45    9    feeling completely confused by his communications with

00:36:47   10    them and essentially did not understand the nature of

00:36:51   11    those communications or the purpose of that meeting,

00:36:54   12    Your Honor.

00:36:55   13                    Defendant's one-sided communications with

00:36:57   14    putative class members have the potential to eliminate

00:37:02   15    the majority of the potential class when they are

00:37:05   16    agreeing to speak with the defendant's counsel, signing

00:37:08   17    statements without being fully informed of all of the

00:37:13   18    relevant facts, the status of the pending action, or

00:37:15   19    their legal rights.

00:37:17   20                    Defendant's one-sided communications with

00:37:20   21    putative counsel -- I'm sorry, with the putative class

00:37:24   22    have actually, again, actually limited or have the

00:37:28   23    potential to limit or eliminate their potential recovery

00:37:32   24    in this action.

00:37:33   25                    Your Honor, to be clear, plaintiffs are not




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00:37:38    1    here to argue that the employers may not communicate

00:37:41    2    with putative plaintiffs in most circumstances, but this

00:37:44    3    is one of those exceptions due to the nature of such

00:37:47    4    communications which have caused confusion,

00:37:51    5    misrepresenting the status of the action, the effect of

00:37:54    6    the pending case.        And given the pending motion for

00:37:58    7    notice, which if the Court granted such motion would

00:38:02    8    provide the putative plaintiffs and the Rule 23 class

00:38:05    9    members with impartial Court-authorized notice,

00:38:11   10    eliminating and avoiding any issues that have prompted

00:38:15   11    this motion for protective order.

00:38:18   12                    Now, Your Honor, in terms of the governing

00:38:23   13    principles in terms the of limiting communications,

00:38:26   14    courts all agree that they have the authority to control

00:38:30   15    the communications with class members.               These general

00:38:34   16    principles were established by the Supreme Court in Gulf

00:38:38   17    Oil versus Bernard.         In applying the standard pronounced

00:38:43   18    in Gulf Oil, the Court must first determine whether

00:38:46   19    limitation on defendant's communication with putative

00:38:49   20    class members is necessary.

00:38:51   21                    As addressed in Slavinski versus Columbia

00:38:55   22    Association, a Fourth Circuit District Court case from

00:38:57   23    2011, the Court determines that first the movant must

00:39:01   24    show that a particular form of communication has

00:39:05   25    occurred or is threatened to occur.              Second, the movant




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00:39:09    1    must show that the particular form of communication at

00:39:13    2    issue is abusive in that it threatens the proper

00:39:18    3    functioning of the litigation.            A moving party must show

00:39:22    4    that not only that the communication has occurred or is

00:39:26    5    threatened to occur but that the particular form of

00:39:29    6    communication is abusive.           Some of those abusive

00:39:32    7    practices that have been considered sufficient to

00:39:35    8    warrant a protective order include communications that

00:39:38    9    misrepresent the status or the effect of the pending

00:39:41   10    litigation.      They have an obvious potential for

00:39:44   11    confusion.      They can otherwise be characterized as

00:39:51   12    false, misleading or intimidating or are communications

00:39:55   13    which can undermine the cooperation or confidence in

00:39:58   14    class counsel, Your Honor.

00:39:59   15                    And in some of the cases, one in particular

00:40:01   16    that comes to mind and is so analogous to the facts in

00:40:05   17    this case, and even in that case, Your Honor, the

00:40:09   18    defendant's counsel in communicating with putative class

00:40:12   19    members actually did so much more, communicated so much

00:40:17   20    more to putative class members than was done in this

00:40:20   21    case.    And that case that I'm referring to, Your Honor,

00:40:22   22    is Quezada versus Schneider Logistics Transloading.

00:40:28   23    It's a 2013 case, Your Honor.            And prior to beginning

00:40:33   24    the conversation with putative class members --

00:40:36   25                    THE COURT:      I didn't find that case very




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00:40:41    1    similar to the facts here.           I recall in that case

00:40:46    2    meetings with current employees were held in a manager's

00:40:51    3    office during work hours, and employees were ordered to

00:40:55    4    report to those meetings either over a loudspeaker or by

00:40:58    5    having a supervisor escort them.             I don't think that's

00:41:01    6    one of your better cases.

00:41:03    7                    You're really recapping your written

00:41:05    8    material.      This is an opening statement.           Is there

00:41:10    9    anything that you would in particular seek to highlight?

00:41:15   10                    MS. HERNANDEZ:       Absolutely, Your Honor.      I

00:41:16   11    will simply say that in terms of determining whether

00:41:19   12    precertification communications between the employees

00:41:22   13    and the employers are sufficiently deceptive or coercive

00:41:26   14    warranting relief, the Courts have considered several

00:41:29   15    factors, including whether an employer adequately

00:41:32   16    informed the employees about the details of the

00:41:35   17    underlying suit, the nature and purpose of the

00:41:37   18    communication, and the fact that any defense attorneys

00:41:41   19    conducting the communications represent the employer and

00:41:44   20    not the employee.

00:41:45   21                    Now, Your Honor, one thing that I would like

00:41:46   22    to highlight about Quezada is that the Court found while

00:41:51   23    defendant's counsel had provided a great deal of detail,

00:41:54   24    they failed to simply advise these individuals that the

00:41:59   25    information being collected would be utilized, for the




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00:42:03    1    purpose of the interviews, to gather evidence and to be

00:42:07    2    used against the employees in the lawsuit.                They were

00:42:11    3    not even told that the document they were going to be

00:42:13    4    asked to sign at the close of the interview was a sworn

00:42:16    5    declaration, nor were they apprised of the significance

00:42:19    6    of signing a declaration under penalty of perjury.

00:42:22    7                    Those are the types of issues that happened

00:42:25    8    in this case, Your Honor.           In this case the

00:42:27    9    communications with Mr. Dillon, who's a putative class

00:42:32   10    member --

00:42:33   11                    THE COURT:      Mr. Dillon, why don't you step

00:42:36   12    outside the room.        I'd rather hear your testimony

00:42:38   13    without the forecast of what you're going to say.                And

00:42:42   14    we'll get you right back in as soon as opening statement

00:42:46   15    is done.

00:42:46   16                    (Mr. Dillon exits the courtroom.)

00:42:49   17                    THE COURT:      Okay.    What is he going to say?

00:42:52   18                    MS. HERNANDEZ:       So in this case, Your Honor,

00:42:54   19    as you can see, you could even see from the

00:42:56   20    transcription, just the lack of information, just at the

00:43:03   21    outset when Ms. Erin Whitlock, a paralegal for the

00:43:08   22    defendants, did not even communicate thoroughly the

00:43:10   23    nature of the action, did not communicate thoroughly how

00:43:14   24    the pending status of the action could affect him, did

00:43:17   25    not explain the nature of Wai Man Tom's, the named




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00:43:24    1    plaintiff's, allegations, how he was representing not

00:43:26    2    just himself but putative plaintiffs.              And more

00:43:29    3    importantly, Your Honor, there's no question that from

00:43:31    4    the transcription Mr. Dillon was confused about who he

00:43:36    5    was speaking to and even said:            Well, I'm good friends

00:43:40    6    with Brandon Kelly.

00:43:43    7                    At that point, Your Honor, I think the

00:43:44    8    defendants' counsel and their staff should have been on

00:43:49    9    notice to be entirely truthful, transparent, and candid

00:43:54   10    about all of these things, even if they had to

00:43:56   11    repeatedly explain who they represented.

00:44:00   12                    Your Honor, I mean, I could go into again

00:44:03   13    just the main point on their failures.               I mean, Mr.

00:44:08   14    Dillon was not advised that the document he was asked to

00:44:12   15    sign at the close of the interview was a sworn

00:44:16   16    declaration.       They did not, again, thoroughly explain

00:44:18   17    the nature of the lawsuit, did not explain how the

00:44:23   18    purpose of that meeting with him was to use the

00:44:27   19    information for gathering purposes and to be utilized

00:44:32   20    against him potentially and how it could limit his

00:44:35   21    recovery should the class be certified.               And these are

00:44:38   22    all communications which are fundamentally misleading

00:44:42   23    and deceptive because he clearly was unaware that the

00:44:46   24    interview was taking place in an adversarial context and

00:44:50   25    that his statement could be used to limit his own relief




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00:44:54    1     as a putative plaintiff class member.

00:44:57    2                     And now in terms of what defendant's counsel

00:45:00    3     have said, they simply said to him:             We're calling about

00:45:03    4     the lawsuit involving An.          Ms. Fishman explained in

00:45:10    5     vague terms a lawsuit was going on.             So the details go

00:45:12    6     on and on.

00:45:13    7                     I certainly do not want to belabor or

00:45:16    8     reiterate the points that have been raised in

00:45:18    9     plaintiff's brief in support of the motion for

00:45:21   10     protective order, but just from comparing, again, the

00:45:25   11     transcription and how he was very candid about feeling

00:45:30   12     frustrated that not just himself but other servers felt

00:45:34   13     frustrated that they were having to tip out to

00:45:38   14     individuals that were not even stepping floor in the

00:45:42   15     front of the house, those are all details -- I mean,

00:45:44   16     that transcription was so lengthy compared to this

00:45:49   17     declaration that he signed.

00:45:50   18                     THE COURT:     Would you agree with me that the

00:45:55   19     standard for judicial intervention is whether the

00:45:59   20     defendant misrepresented the status or effect of this

00:46:04   21     action, whether the communications had an obvious

00:46:09   22     potential for confusion, whether they were misleading,

00:46:12   23     intimidating, or coercive?           Isn't that what this hearing

00:46:16   24     is all about?

00:46:17   25                     MS. HERNANDEZ:       Yes, it is, Your Honor.




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00:46:18    1                     THE COURT:     Not about whether there was a

00:46:22    2     mere lack of clarity on the part of defense counsel, or

00:46:26    3     a failure to provide a copy of the affidavit, or a lack

00:46:30    4     of thorough explanation?          Would you agree with me that

00:46:33    5     those items are not sufficient to meet this standard for

00:46:37    6     judicial intervention that's set forth in Gulf Oil and

00:46:42    7     is described in the Manual for Complex Litigation?

00:46:45    8                     MS. HERNANDEZ:       I would agree with that,

00:46:47    9     Your Honor.

00:46:47   10                     THE COURT:     All right.      Thank you very much.

00:46:48   11                     Let's hear from the defendant briefly, then

00:46:50   12     we'll let the plaintiff call the first witness.

00:46:52   13                     MR. HUNT:     Thank you, Your Honor.            We also

00:46:55   14     agree that that's the proper, appropriate standard for

00:46:59   15     judicial intervention.

00:47:00   16                     And in this case, just briefly, there was

00:47:04   17     absolutely nothing impermissible in our interviewing or

00:47:07   18     attempting to obtain a statement from Mr. Dillon, or

00:47:11   19     anyone else for that matter, who has not filed a consent

00:47:15   20     to sue, was not represented by the plaintiffs.                   There's

00:47:20   21     been no certification in this action.              And under the

00:47:23   22     current law, it's more universally recognized defendants

00:47:30   23     can and probably should attempt to interview people that

00:47:35   24     potentially might be members of a class.

00:47:38   25                     Moreover, there's no evidence that there was




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00:47:41    1     any kind of coercion or intimidation.              Mr. Dillon, he

00:47:47    2     doesn't currently work for any of the defendants.

00:47:49    3     That's, I think a fact which distinguishes his situation

00:47:54    4     from a substantial number of the cases that the

00:47:58    5     plaintiffs have attempted to rely on in their brief.

00:48:02    6                     In addition to that, there wasn't any

00:48:03    7     evidence that there was any offer by the defendants to

00:48:07    8     try to settle the case or compromise his claim.                 There's

00:48:11    9     no evidence that he was told not to participate in the

00:48:16   10     case or not to file a consent to sue or that somehow he

00:48:21   11     was intimidated into meeting with Ms. Fishman and Ms.

00:48:27   12     Whitlock at a public place in downtown Raleigh.                 What

00:48:32   13     the evidence does show is that he voluntarily spoke with

00:48:37   14     Ms. Whitlock on two occasions, and he voluntarily

00:48:43   15     engaged in a series of text message communications with

00:48:46   16     her.    He also voluntarily agreed to meet with Ms.

00:48:50   17     Whitlock and Ms. Fishman, and he did so.               He met at the

00:48:55   18     Starbucks.      And even according to the affidavit that he

00:49:00   19     submitted to Your Honor in connection with the

00:49:04   20     plaintiff's motion, he understood, at least even if he

00:49:10   21     somehow was initially confused, which I don't think was

00:49:13   22     the case, but even buying that, that he initially was

00:49:17   23     confused, he knew halfway through the conversation -- he

00:49:20   24     said this in the affidavit he gave to Ms. Hernandez --

00:49:24   25     that he fully understood that Ms. Whitlock and Ms.




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00:49:27    1     Fishman were representing the defendants in the case;

00:49:29    2     and nonetheless, he continued with the interview.                   He

00:49:35    3     then provided them with a written statement with a

00:49:40    4     declaration.      He also, according to the affidavit that

00:49:43    5     he provided to plaintiff's counsel, edited that

00:49:46    6     affidavit and made whatever changes he wanted.

00:49:51    7                     THE COURT:     Do you know -- do you have the

00:49:53    8     original affidavit that he made changes on and returned?

00:49:57    9                     MR. HUNT:     He made them on the computer as

00:50:01   10     this was being done, so we don't have the actual

00:50:06   11     document.     What occurred was when they met with him at

00:50:10   12     Starbucks, Ms. Fishman was preparing the affidavit as he

00:50:13   13     was talking based on his comments.             Then I believe the

00:50:18   14     testimony will be she showed him the computer, and he

00:50:22   15     made changes.

00:50:22   16                     THE COURT:     He can testify to that if he

00:50:24   17     remembers.

00:50:24   18                     MR. HUNT:     In addition to that, then

00:50:26   19     sometime after he spoke to plaintiff's counsel, in fact,

00:50:30   20     the evidence will show that he went ahead and asked for

00:50:35   21     a copy of the affidavit, which he got.              It wasn't

00:50:39   22     initially sent to him because of inadvertence, but it

00:50:43   23     was sent to him.       And although he said he initially

00:50:45   24     wanted to make changes, he sent Ms. Whitlock a text

00:50:50   25     saying he didn't want to make any changes.                So that




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00:50:53    1     occurred voluntarily as well.           There wasn't any

00:50:59    2     compulsion on his part to reach out to us to do so.

00:51:03    3                     So the defendant's position is they had a

00:51:05    4     First Amendment right to communicate with Mr. Dillon.

00:51:08    5     He's not represented by counsel.            And there's nothing

00:51:12    6     remotely approaching any kind of miscommunication,

00:51:16    7     coercion.     And asking open ended questions about the

00:51:20    8     facts of the case certainly doesn't -- isn't the

00:51:24    9     equivalent of coercion, and asking open-ended questions

00:51:27   10     about the factual basis or about the facts involved in

00:51:31   11     this case also doesn't make those questions misleading.

00:51:34   12     So we think that this simply is a witness interview that

00:51:39   13     happens hundreds of times day across the country in all

00:51:43   14     kinds of different litigation, and we respectfully ask

00:51:46   15     that the motion be denied.

00:51:48   16                     THE COURT:     Well, I'll preface going forward

00:51:50   17     with some language from the Fourth Circuit.                I haven't

00:51:54   18     found a case where the Fourth Circuit addressed directly

00:51:57   19     the type of abuse that may trigger District Court

00:52:00   20     intervention in the form of a limiting order, but I did

00:52:04   21     find a case where the Fourth Circuit recently commented

00:52:06   22     upon conduct by an employer defendant in the context of

00:52:11   23     a motion to compel arbitration in the class action case.

00:52:15   24     But does my survey of the Fourth Circuit match yours?

00:52:20   25     Have you found a decision by the Fourth Circuit that's




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00:52:23    1     on point here?

00:52:24    2                     MS. HERNANDEZ:       No.     No, Your Honor, not

00:52:26    3     necessarily other than some district court cases.

00:52:28    4                     THE COURT:     Okay.       Have you?

00:52:30    5                     MR. HUNT:     No, Your Honor.          There are some

00:52:32    6     District Court cases, I believe, which we cited in our

00:52:36    7     brief with the proposition that it's acceptable to speak

00:52:40    8     with class members or putative class members prior to

00:52:45    9     certification.

00:52:47   10                     THE COURT:     Well, in that DeGidio versus

00:52:53   11     Crazy Horse Saloon case, which is a case this year, the

00:52:59   12     Court noted that the employer was disdainful of orderly

00:53:05   13     judicial process and lacking in the respect that

00:53:07   14     opposing parties in an adversary proceeding are due.                    It

00:53:13   15     found under the facts there that Crazy Horse didn't

00:53:15   16     inform that it was communicating with potential class

00:53:21   17     members about pending litigation; it didn't tell the

00:53:27   18     Court.

00:53:27   19                     But the Court goes on to talk about the FLSA

00:53:30   20     opt-in requirement, that it was enacted in response to

00:53:35   21     excessive litigation spawned by plaintiffs lacking a

00:53:40   22     personal interest in the outcome.

00:53:44   23                     The requirement seeks to balance employees'

00:53:50   24     interest in pooling resources to bring collective

00:53:53   25     actions and employers' interests in reducing baseless




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00:53:56    1     lawsuits.     In order to strike this balance, District

00:54:00    2     Courts must be able to supervise contacts between the

00:54:03    3     parties and their respective counsel to insure that

00:54:07    4     potential plaintiffs are not misled about the

00:54:10    5     consequences of joining a class in an ongoing employment

00:54:15    6     dispute.     The Court's supervisory role helps to insure

00:54:20    7     that employees receive accurate and timely notice so

00:54:23    8     that they can make informed decisions about whether to

00:54:26    9     participate.

00:54:27   10                     I think some of that language is helpful

00:54:29   11     here.     And we come back to the fact that what's in front

00:54:32   12     of me isn't whether there was a lack of clarity in and

00:54:39   13     of itself, but it's whether it really strikes to the

00:54:44   14     heart of coercive or misleading or intended to confuse,

00:54:54   15     intimidating.      So that's what I've got in my mind.              And

00:54:58   16     I think both sides agree that that's what I should be

00:55:03   17     looking at.      The communications must be said to

00:55:08   18     misrepresent the status or effect of the pending action,

00:55:12   19     have an obvious potential for confusion, misleading,

00:55:16   20     intimidating, or coercive.

00:55:18   21                     So why don't you go and get your witness,

00:55:20   22     and we'll invite him to come up to the bench.

00:55:24   23                     Please tell him to watch his step.              We lose

00:55:27   24     a few people when we go from the wooden floor to the

00:55:30   25     carpet.




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00:55:30    1                     MS. HERNANDEZ:       You would want him --

00:55:33    2                     THE COURT:     He's going to come straight up

00:55:35    3     to Ms. Collins.        She's going to administer the oath,

00:55:38    4     then he's going to go into the witness box.

00:56:11    5                     THE CLERK:     Please place your left hand on

00:56:14    6     the Bible and raise your right hand.              State your name

00:56:16    7     for the Court.

00:56:18    8                     THE WITNESS:      Justin Dillon, J-u-s-t-i-n

00:56:25    9     D-i-l-l-o-n.

00:56:25   10                     (Whereupon the witness was sworn by the

00:56:33   11     clerk.)

00:56:33   12                     THE CLERK:     Please take the witness stand.

00:56:43   13     THE COURT:      I'm going to invite Ms. Hernandez to ask you

00:56:45   14     some questions.       Then when she's finished, counsel for

00:56:48   15     the defendant has a chance to ask you questions as well.

00:56:50   16                     Please proceed.

00:56:50   17                                       - - -

00:56:50   18                     JUSTIN DILLON, DIRECT EXAMINATION

00:56:52   19     BY MS. HERNANDEZ:

00:56:52   20         Q.    Thank you, Your Honor.

00:56:56   21               Mr. Dillon, thank you so much for taking the time

00:56:59   22     to be here today.

00:57:04   23                     THE COURT:     You can question the witness

00:57:06   24     while seated.

00:57:07   25                     MS. HERNANDEZ:       Thank you.




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00:57:10    1     BY MS. HERNANDEZ:

00:57:10    2         Q.   Mr. Dillon, when you first heard from defendant's

00:57:14    3     counsel, do you recall who exactly contacted you and

00:57:19    4     what they said in reference to this matter?

00:57:22    5         A.   After relooking through the phone messages, I

00:57:27    6     knew a name but not a face to the name.               And it was --

00:57:30    7     that's pretty much all I got out of it.               I didn't really

00:57:33    8     know exactly who represented who.             As I stated in my

00:57:38    9     text, I was more than happy to be a part of this if it

00:57:42   10     was going to actually come of some sort to where people

00:57:49   11     were being held accountable for what was happening.

00:57:53   12         Q.   And when you subsequently spoke to someone

00:57:56   13     representing the defendant's counsel, do you recall

00:58:01   14     whether you called them or they called you?                 And how

00:58:04   15     did they introduce themselves to you?

00:58:06   16         A.   Well, they called me.         I missed the call and I

00:58:09   17     called them back.        Then it was pretty much a --

00:58:12   18                     THE COURT:     Can you give me a name?

00:58:16   19                     THE WITNESS:      Erin Whitlock was the name

00:58:18   20     that was on the text.         I don't necessarily remember who

00:58:20   21     I was talking to whenever I was on the phone.                   It was a

00:58:23   22     very brief conversation.          And for the most part -- they

00:58:30   23     asked me a couple questions and asked to meet me at

00:58:32   24     Starbucks.

00:58:34   25     BY MS. HERNANDEZ:




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00:58:34    1         Q.   Do you recall if they explained the nature of the

00:58:37    2     lawsuit?

00:58:38    3         A.   No, they did not give me any paperwork, any

00:58:41    4     information.      They just said that it just had to deal

00:58:44    5     with the lawsuit that I had already known about from the

00:58:47    6     year prior, so.

00:58:48    7         Q.   Did you know a year prior what the lawsuit was

00:58:51    8     about?

00:58:51    9         A.   I thought it was for back wages.             And then it

00:58:56   10     turned into -- until I came to your office, I did not

00:59:01   11     even understand that it had to do with anything being,

00:59:04   12     like, tip pool and stuff like that.

00:59:04   13              (Whereupon Ms. Whitlock and Ms. Fishman exit the

00:59:04   14     courtroom.)

00:59:10   15         Q.   I'm sorry.      Could you please repeat that?

00:59:11   16         A.   Until I met with you, I did not know what the

00:59:14   17     actual real true nature of the lawsuit was.

00:59:20   18         Q.   So did they explain to you -- so when you say

00:59:25   19     that you learned about the case being about back wages,

00:59:27   20     is that something that they communicated to you?

00:59:29   21         A.   Before I had quit, Brandon and Wai had already

00:59:34   22     mentioned that they were going to pursue this.                  And then

00:59:38   23     a year later is when they contacted me.               So then I had

00:59:42   24     actually had your contact information from when they

00:59:45   25     asked if anybody wanted to join.            And then I had called




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00:59:49    1     you because how I felt whenever I left with them.

00:59:52    2         Q.   And how did you feel when you left the meeting

00:59:55    3     with the defendant's counsel?

00:59:57    4         A.   That they were trying to sway my words to be

01:00:03    5     different -- they would take three sentences and write

01:00:06    6     it into one.       And the context of what I was reading was

01:00:09    7     not what I said.

01:00:10    8         Q.   Did they explain to you the significance of

01:00:17    9     signing a declaration under penalty of perjury?

01:00:21   10         A.   No.     They didn't even give me a copy of it.

01:00:25   11         Q.   Did they offer you a copy of the declaration?

01:00:28   12         A.   No.     The printer wasn't working.          She walked off;

01:00:31   13     she printed off one copy and brought it back to the

01:00:36   14     table.     This is after I had already gone through and

01:00:38   15     taken off about two and a half pages of what they had

01:00:42   16     written down.       And I actually didn't really realize they

01:00:45   17     were actually, like, typing what I was saying because I

01:00:49   18     was focused on one person while the other person was

01:00:52   19     writing.       Then they said:     Would you like to review

01:00:55   20     it -- no, halfway through I realized what they said.

01:00:57   21     And I was, like, may I review this?             Then I just started

01:01:01   22     deleting all kinds of stuff because it just seemed

01:01:04   23     really fishy.       They had really weird questions that they

01:01:10   24     were asking.       And it started to really, like, bring up a

01:01:14   25     little bit of doubt in my mind on what was actually




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01:01:17    1     happening.

01:01:17    2         Q.   Did they explain to you the nature of the meeting

01:01:19    3     with you?

01:01:20    4         A.   No.    They didn't give me any paperwork.              They

01:01:23    5     didn't give me any -- no.          No.

01:01:28    6         Q.   Did they explain to you -- did they show you a

01:01:31    7     copy of the first amended complaint in this lawsuit?

01:01:33    8         A.   No.    I would have had it.

01:01:35    9         Q.   Did they explain to you at all the nature of the

01:01:38   10     named plaintiff's allegations in this lawsuit?

01:01:40   11         A.   No.

01:01:41   12         Q.   Did they explain to you that they would be

01:01:45   13     utilizing the information gathered from you against the

01:01:51   14     plaintiff's in this lawsuit or potentially in this

01:01:54   15     lawsuit?

01:01:55   16                     MR. HUNT:     Objection.      Leading.

01:01:56   17                     THE COURT:     Sustained.

01:02:00   18     BY MS. HERNANDEZ:

01:02:00   19         Q.   Did they explain to you that they would be

01:02:04   20     utilizing a declaration signed by you in this lawsuit?

01:02:08   21         A.   No.

01:02:11   22         Q.   Did they explain to you that you could be a

01:02:16   23     potential Rule 23 class member in this lawsuit?

01:02:19   24         A.   No.

01:02:20   25                     MR. HUNT:     Objection.      Leading.




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                                                                                        22


01:02:23    1                     THE COURT:     Overruled.

01:02:26    2         Q.   Did they explain to you that you had a right to

01:02:29    3     confer with an attorney before signing a declaration?

01:02:33    4         A.   No.

01:02:35    5         Q.   Did they explain to you that you had a right to

01:02:37    6     have an attorney present during the course of the

01:02:41    7     communications with them?

01:02:43    8         A.   No.

01:02:43    9                     MR. HUNT:     Objection.

01:02:44   10                     THE COURT:     Overruled.

01:02:50   11         A.   They didn't tell me anything.            We just talked and

01:02:52   12     had a casual conversation, and they started asking me

01:02:56   13     questions.      And about halfway through it got really --

01:02:58   14     when they started asking about sushi chefs speaking

01:03:02   15     English, I started realizing what was going on.                 Because

01:03:06   16     it made no sense to me, and I still don't even

01:03:09   17     understand why the sushi chefs even needed to speak

01:03:14   18     English, except we spoke about it that they were tipped

01:03:17   19     out as well.      None of it made sense until -- they were

01:03:20   20     very vague, broad questions at first then got very

01:03:23   21     detailed at the very end.

01:03:25   22         Q.   Did you feel somewhat -- did you feel confused?

01:03:28   23                     MR. HUNT:     Objection.      Leading.

01:03:30   24         A.   I didn't know what was going on.

01:03:32   25                     THE COURT:     That is a leading question.




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01:03:33    1     "How did you feel," would be the question.

01:03:36    2     BY MS. HERNANDEZ:

01:03:36    3           Q.     I'm sorry.   Strike that question.

01:03:38    4                  How did you feel, Mr. Dillon, during the course

01:03:41    5     of the communications with defendant's counsel?

01:03:43    6           A.     It was very casual at first.       And there wasn't

01:03:47    7     any kind of questions in my mind about what was going

01:03:50    8     on.        And then about halfway through is when it just --

01:03:55    9     it seemed like one-sided questions to where I was --

01:04:00   10     that just seemed like one-sided questions.

01:04:03   11           Q.     What prompted you to contact plaintiff's counsel

01:04:06   12     after your meeting with them?

01:04:08   13           A.     Because it just seemed off, the entire thing.

01:04:13   14     After I looked at it, like, looked back at it, when I

01:04:18   15     walked out -- like, I'm not the one to really question

01:04:22   16     anything, but that was questionable to me.

01:04:24   17                  So I just wanted -- and if anything, whenever I

01:04:28   18     texted you, just out of total transparency, I wanted you

01:04:32   19     to know I had spoken with them.             And I just didn't want

01:04:35   20     to -- that's it.

01:04:39   21           Q.     Did you feel that they fully explained the nature

01:04:46   22     of this lawsuit or what was going on?

01:04:49   23           A.     No.

01:04:49   24                        MR. HUNT:   Objection.     Leading.

01:04:52   25           Q.     Prior to asking you these questions.




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                                               Dillon - Cross                                24


01:04:54    1         A.    No.   The only information that I had was that

01:04:58    2     quick text where they said, "We represent An.                   And that

01:05:05    3     was it.     I didn't know on which side.           No, I did not.

01:05:14    4                     MS. HERNANDEZ:       Mr. Dillon, thank you very

01:05:15    5     much.     I have no further questions at this time.

01:05:21    6                                       - - -

01:05:21    7                     JUSTIN DILLON, CROSS-EXAMINATION

01:05:21    8     BY MR. HUNT:

01:05:21    9         Q.    Mr. Dillon, I'm John Hunt.          I represent the

01:05:25   10     defendants.      You're not a plaintiff in this case,

01:05:27   11     correct?

01:05:27   12         A.    Correct.

01:05:28   13         Q.    You've never filed a consent to sue; is that

01:05:30   14     correct?

01:05:30   15         A.    Correct.

01:05:31   16         Q.    You're not represented by Ms. Hernandez or Mr.

01:05:35   17     Cohen; is that correct?

01:05:36   18         A.    Correct.

01:05:38   19         Q.    Is that correct?

01:05:38   20         A.    Correct.    Yes.

01:05:39   21         Q.    In fact, you quit your employment at An in

01:05:46   22     November 2016; is that right?

01:05:47   23         A.    Yes, sir.

01:05:48   24         Q.    You don't work at the Umstead?

01:05:50   25         A.    No, sir.




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                                              Dillon - Cross                                 25


01:05:51    1         Q.   You don't work for SAS?

01:05:53    2         A.   No, sir.

01:05:54    3         Q.   In fact, you don't work for any company

01:05:56    4     affiliated with any of those organizations, correct?

01:05:58    5         A.   Not at the moment.

01:06:01    6         Q.   You returned a call that you received on March 2,

01:06:06    7     2018, correct?

01:06:07    8         A.   Yes.

01:06:10    9         Q.   You voluntarily returned that call?

01:06:13   10         A.   Yes.    I didn't know who was calling.            I do not

01:06:15   11     set up my voice mail on purpose on my personal phone.

01:06:19   12     So I had --

01:06:21   13         Q.   No one forced you to return that call?                 You went

01:06:24   14     ahead and returned it?

01:06:25   15         A.   I did not know who was calling, so yes, I -- so

01:06:29   16     yes, I returned it.

01:06:30   17         Q.   You could have ignored the call if you chose to

01:06:32   18     do so, right?

01:06:33   19         A.   Normally people don't ignore phone calls.

01:06:35   20         Q.   You could have?

01:06:36   21         A.   Yes, I could have ignored it if I wanted to, but

01:06:39   22     I did not.

01:06:39   23         Q.   When you called the number, the person that

01:06:41   24     answered the phone identified that they were with the

01:06:44   25     Stokes Wagner law firm; is that right?




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                                              Dillon - Cross                                 26


01:06:47    1                     MS. HERNANDEZ:       Objection.     Leading.

01:06:50    2         A.   They told me --

01:06:51    3                     THE COURT:     One moment.      Let me rule on the

01:06:53    4     objection.

01:06:54    5                     Sustained.

01:06:55    6                     MR. HUNT:     I'm sorry, Your Honor.            I thought

01:06:57    7     this was a hostile witness.

01:06:59    8                     THE COURT:     That is true.       You can lead.

01:07:02    9     Why don't you repeat the question.

01:07:05   10     BY MR. HUNT:

01:07:06   11         Q.   When you returned the phone call you received,

01:07:08   12     the person who answered the phone said that it was the

01:07:11   13     Stokes Wagner law firm, right?

01:07:13   14         A.   No, they said that they -- my name is Erin

01:07:17   15     Whitlock, and I represent An.

01:07:18   16         Q.   Did you speak with a woman by the name of Sarah

01:07:21   17     St. Pierre?

01:07:22   18         A.   I think that was the secretary that told me to

01:07:25   19     wait.

01:07:26   20         Q.   And when Ms. St. Pierre answered the phone, she

01:07:30   21     identified that you had called the Stokes Wagner law

01:07:34   22     firm, right?

01:07:34   23         A.   I do not recall.        It was a very quick

01:07:37   24     interaction.      And, I mean, it was my day off.               I wasn't

01:07:41   25     paying that much attention on that.




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                                              Dillon - Cross                          27


01:07:43    1         Q.   Based on your experience, when you call a

01:07:45    2     business, the business usually --

01:07:47    3         A.   It's my personal phone.

01:07:49    4         Q.   I'm sorry, sir.       If you could wait.

01:07:51    5              When you call a business generally, it's been

01:07:53    6     your experience the business identifies the name of the

01:07:57    7     business when you've reached that number, right?

01:07:59    8         A.   Yes, absolutely.

01:08:00    9         Q.   And sitting here today, you say you can't recall

01:08:04   10     whether Ms. St. Pierre told you it was Stokes Wagner law

01:08:08   11     firm or not, right?

01:08:09   12         A.   I'm sure they did, but I didn't know who you were

01:08:12   13     actually representing and the specifics of --

01:08:15   14         Q.   Ms. St. Pierre told you that she had called you

01:08:20   15     regarding the Tom versus An case, correct?

01:08:26   16         A.   Yes.

01:08:26   17         Q.   So you knew that she had called in connection

01:08:28   18     with the lawsuit, right?

01:08:30   19         A.   Yes.    But I did not know which side.

01:08:32   20         Q.   So she told you that our law firm or Stokes

01:08:37   21     Wagner represented the defendants, represented the

01:08:39   22     restaurant, right?

01:08:40   23         A.   No, she said they represent An.            I didn't know

01:08:43   24     if -- it's very vague to me.           I'm not used to court.

01:08:48   25     I'm not used to lawyers.




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                                              Dillon - Cross                      28


01:08:49    1         Q.   So Ms. St. Pierre told you during your initial

01:08:54    2     phone call that she was with a law firm that represented

01:08:59    3     An; am I correct?

01:09:02    4         A.   If you want to break it down to exact words, yes.

01:09:05    5     Understanding of those words was different.

01:09:10    6         Q.   You previously have worked at An, as you told

01:09:14    7     plaintiff's counsel, correct?

01:09:16    8         A.   Yeah.

01:09:16    9         Q.   You also knew prior to the time that you called

01:09:19   10     Ms. St. Pierre that Brandon Kelly and Wai Man Tom had

01:09:27   11     filed a lawsuit against An, correct?

01:09:30   12         A.   Yes.

01:09:30   13         Q.   You also knew --

01:09:31   14         A.   I knew they were going to file a lawsuit.

01:09:34   15         Q.   You also knew that they had tried to encourage

01:09:38   16     other people to participate in that lawsuit including

01:09:41   17     yourself, correct?

01:09:42   18                      MS. HERNANDEZ:      Objection.     Form.

01:09:43   19                      THE COURT:    Overruled.

01:09:45   20         A.   Yes.

01:09:47   21         Q.   So you had all that knowledge by the time you

01:09:50   22     talked to Ms. St. Pierre, and Ms. St. Pierre informed

01:09:54   23     you that she was calling on behalf of An, correct?

01:09:59   24         A.   Whenever -- okay, so if -- yes.

01:10:06   25         Q.   You spoke to Ms. St. Pierre first, then she




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                                              Dillon - Cross                        29


01:10:09    1     transferred you to Ms. Whitlock, correct?

01:10:11    2         A.    Yes.

01:10:12    3         Q.    You then spoke to Ms. Whitlock, right?

01:10:15    4         A.    Yes.

01:10:16    5         Q.    Ms. Whitlock also told you that she was calling

01:10:22    6     you in connection with a lawsuit and it was on behalf of

01:10:25    7     the restaurant, correct?

01:10:27    8         A.    Yes.    But it was very unclear to what extent

01:10:32    9     anything was actually happening or who was represented

01:10:37   10     by who.

01:10:37   11         Q.    Well, you knew that Ms. Whitlock was calling from

01:10:40   12     a law firm that represented the restaurant in this

01:10:44   13     particular lawsuit, right?

01:10:46   14         A.    If I would have known that you guys represented

01:10:49   15     An and were going against them, I would not have met,

01:10:52   16     and I would not have participated in any of this.

01:10:55   17         Q.    Sir, that's not the question I asked you.

01:10:57   18               What I asked you was:        Did you know at the time

01:11:00   19     you talked to Ms. Whitlock -- or you knew at the time

01:11:04   20     that you talked to Ms. Whitlock that she was with a law

01:11:07   21     firm that was representing the defendants, that is, An,

01:11:11   22     in the case that had been filed by Mr. Kelly and Mr.

01:11:15   23     Tom, correct?

01:11:16   24                      MS. HERNANDEZ:      Objection.     Asked and

01:11:17   25     answered.




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                                              Dillon - Cross                              30


01:11:18    1                     THE COURT:     Overruled.

01:11:20    2         A.   It's all on paper.        You submitted it.         Yes.   I

01:11:26    3     mean.

01:11:26    4         Q.   The answer to my question is:            Yes, you

01:11:28    5     understood all that?

01:11:29    6         A.   I understood that I was speaking to an attorney

01:11:32    7     or a paralegal for a law firm.            I was not aware of who

01:11:37    8     was being -- I didn't understand who was being

01:11:44    9     represented.      You can say An, but that could mean

01:11:48   10     anything to me whenever I'm not familiar with all this

01:11:51   11     stuff.

01:11:52   12         Q.   You worked at An and you understood there was a

01:11:56   13     lawsuit that had been filed by former servers against

01:12:00   14     An, correct?

01:12:01   15         A.   Yes.

01:12:01   16         Q.   So you knew that information at the time you

01:12:04   17     talked to Ms. Whitlock?

01:12:05   18         A.   It had been a year later.           I -- there was

01:12:09   19     vagueness in what I understood was going on.

01:12:13   20         Q.   Ms. Whitlock wanted to ask you -- well, there

01:12:16   21     wasn't anything vague in her telling you we represent

01:12:19   22     the restaurant, was there?            I mean, you understood that

01:12:22   23     you'd worked at the restaurant, and we were representing

01:12:26   24     the restaurant; is that correct?

01:12:28   25         A.   The simple answer, yes.




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                                              Dillon - Cross                            31


01:12:31    1         Q.    Ms. Whitlock then proceeded to ask you a number

01:12:35    2     of questions about the case, correct?

01:12:38    3         A.    And you're speaking at Starbucks or on the phone?

01:12:41    4         Q.    Well, let's talk about on the telephone.              Ms.

01:12:44    5     Whitlock asked you a number of questions about your

01:12:47    6     employment with An, correct?

01:12:49    7         A.    Yes.

01:12:49    8         Q.    And during the course of that conversation Ms.

01:12:51    9     Whitlock told you that your participation in the

01:12:55   10     conversation was voluntary; did she not?

01:12:57   11         A.    Yes.   She caught me on a good day off, and she

01:13:00   12     said:     Meet me on Tuesday at Starbucks.            And I had the

01:13:03   13     day off.

01:13:04   14         Q.    Sir, what I asked you was:          During the

01:13:06   15     conversation you had with Ms. Whitlock on the phone, she

01:13:09   16     told you that your participation in a telephone

01:13:12   17     conversation was voluntary, correct?

01:13:14   18         A.    I don't recall, but sure.          I mean, I don't

01:13:17   19     recall.     That was a long -- that was -- I'm a busy

01:13:21   20     person.     I don't remember just random phone calls.

01:13:25   21         Q.    You've had an opportunity to review the

01:13:29   22     transcript of that telephone conversation, correct?

01:13:31   23         A.    Yes, I have.     And I was not aware I was being

01:13:34   24     recorded as well.

01:13:35   25         Q.    The transcript was a true and accurate copy of




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                                              Dillon - Cross                          32


01:13:39    1     the conversation you had with Ms. Whitlock?

01:13:42    2         A.   I mean, I assume so.          You guys submitted it.

01:13:46    3                     MR. HUNT:     Your Honor, I'd like to submit a

01:13:48    4     copy of the transcript as Defendant's Exhibit 1.

01:13:50    5                     THE COURT:     All right.

01:13:55    6                     MR. HUNT:     May I approach?

01:14:10    7                     THE COURT:     You may.

01:14:14    8                     (Document is handed to the Court.)

01:14:22    9                     THE COURT:     You haven't marked this?

01:14:24   10                     MR. HUNT:     I apologize, Your Honor.

01:14:26   11                     THE COURT:     We'll get a sticker from the

01:14:28   12     clerk.    Are you going to be examining the witness on

01:14:33   13     this?

01:14:33   14                     MR. HUNT:     No, I would just like to move it

01:14:38   15     into evidence, Your Honor.

01:14:38   16                     THE COURT:     The clerk will mark it as

01:14:42   17     Exhibit Number 1.        And this is the same complete

01:14:49   18     transcript that was included in your response?

01:14:52   19                     MR. HUNT:     Yes, Your Honor.        That's correct.

01:14:54   20                     THE COURT:     Okay.     Any other questions?

01:15:01   21     BY MR. HUNT:

01:15:02   22         Q.   You also, after you spoke with Ms. Whitlock on

01:15:04   23     the phone, you had a number of exchanges of text

01:15:07   24     messages with her, correct?

01:15:09   25         A.   After the meeting?




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01:15:11    1         Q.   No.

01:15:12    2         A.   You're talking about whenever we were to meet at

01:15:14    3     Starbucks?

01:15:15    4         Q.   Prior to the meeting.

01:15:16    5         A.   Yeah.     I had asked her what Starbucks and where.

01:15:20    6     That was about it.

01:15:24    7         Q.   You agreed to meet with her, correct?

01:15:27    8         A.   Yes.

01:15:29    9         Q.   And she responded to your text messages, and you

01:15:33   10     responded to her text messages, correct?

01:15:36   11         A.   I said:     My GPS is going crazy.         What Starbucks

01:15:42   12     are you talking about?         I don't get out often.

01:15:46   13              She said:     The one under the Marriott on

01:15:48   14     Fayetteville.

01:15:50   15              So then, yes, I met them.

01:15:52   16         Q.   You voluntarily agreed to meet with Ms. Whitlock

01:15:56   17     and Ms. Fishman at Starbucks, correct?

01:16:00   18         A.   Yes.

01:16:02   19         Q.   No one forced you to meet with them?

01:16:05   20         A.   No.

01:16:06   21         Q.   You arrived at the Starbucks in Raleigh around

01:16:11   22     2:30 in the afternoon on March 19?

01:16:13   23         A.   Yes, sir.

01:16:14   24         Q.   That's a public place?

01:16:17   25         A.   As far as I know, yes, sir.




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                                              Dillon - Cross                            34


01:16:19    1         Q.   There were other people in the Starbucks?

01:16:21    2         A.   There was one other person sitting behind us, but

01:16:25    3     other than that -- they were sitting at a long table,

01:16:28    4     and they were the only two females there.               They said:

01:16:31    5     Look for two females; I'm wearing a flowered shirt or

01:16:35    6     flowered blouse, or something like that.

01:16:37    7         Q.   People came and went as you were talking to Ms.

01:16:39    8     Whitlock and Ms. Ms. Fishman?

01:16:43    9         A.   As far as I know people weren't coming or leaving

01:16:48   10     when I was there.

01:16:49   11         Q.   You could have left at any time you wanted during

01:16:51   12     that conversation with Ms. Whitlock and Ms. Fishman?

01:16:56   13         A.   Yes, but I'm not that type of person.              I'm not

01:16:59   14     rude.

01:16:59   15         Q.   No one forced you to be there; no one forced you

01:17:04   16     to communicate with them?

01:17:05   17         A.   No, sir.

01:17:07   18         Q.   When you arrived at the table, Ms. Fishman

01:17:09   19     introduced herself, correct?

01:17:10   20         A.   Actually, no one introduced themselves except for

01:17:13   21     when I actually sat down.          I found two girls with two

01:17:15   22     laptops and a printer sitting by themselves and assumed

01:17:19   23     that that's who I was looking for.

01:17:21   24         Q.   So your testimony is you just sat down with these

01:17:26   25     two people and started talking about your employment at




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                                               Dillon - Cross                         35


01:17:29    1     An?

01:17:29    2           A.   I made, like, the non-vocal, like, look, nod.

01:17:34    3                And:    Justin?

01:17:36    4                So then that's when it started.

01:17:38    5           Q.   They just launched into questions about your

01:17:41    6     employment at An?

01:17:43    7           A.   I mean, yeah, they didn't really -- they didn't

01:17:47    8     give me any paperwork.          They didn't give me any kind of

01:17:51    9     true understanding of what was going on.               But, yeah,

01:17:54   10     they started asking me questions.

01:17:56   11           Q.   They asked you about your experiences at An with

01:17:59   12     respect to the tip pool and what different employees did

01:18:05   13     during the course of employment, correct?

01:18:07   14           A.   Yes.

01:18:08   15           Q.   They never asked you to settle the case, correct?

01:18:12   16           A.   To what?

01:18:12   17           Q.   They never made a settlement proposal to you,

01:18:15   18     correct?

01:18:16   19           A.   No.

01:18:17   20           Q.   Did they ask you to settle your claim in any

01:18:21   21     fashion or any claim you had?

01:18:23   22           A.   No.    But in all honesty, I would have thought

01:18:26   23     they were going to at the end of the conversation.

01:18:28   24           Q.   So you thought that they might ask you, but they

01:18:31   25     never did?




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01:18:31    1         A.   Once I realized the questions and where they were

01:18:34    2     going, I thought that they were just going to make me

01:18:37    3     sign something just to -- and pay me off to not say

01:18:40    4     anything.

01:18:41    5         Q.   So you were aware during the course of that

01:18:43    6     conversation that they represented An, that they

01:18:46    7     represented the defendants, right?

01:18:47    8         A.   At the very end, about halfway through to the

01:18:49    9     very end is whenever I actually knew.              Because I had to

01:18:52   10     ask them.       So I was, like:      You guys do not represent

01:18:55   11     Brandon?     Because I still did not -- I was not aware

01:18:58   12     that even Wai Man was the one that filed the suit.                 I

01:19:01   13     thought it was Brandon.

01:19:03   14         Q.   So halfway through your conversation with Ms.

01:19:06   15     Fishman and Ms. Whitlock you fully understood, according

01:19:12   16     to yourself, that they represented the restaurant?

01:19:15   17         A.   Yes.     Because after they asked me if the sushi

01:19:18   18     chefs spoke English, I asked them who did they

01:19:20   19     represent.

01:19:21   20              They said:      We represent the restaurant.           Like,

01:19:25   21     as in, we do not -- like, this is, like, a

01:19:30   22     lawsuit-lawsuit.       Like, we are doing this, and we are

01:19:33   23     the opposing side.

01:19:35   24              And that's whenever I started getting antsy.

01:19:41   25         Q.   You continued to talk with them after you learned




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                                              Dillon - Cross                          37


01:19:44    1     that they represented the restaurant, right?

01:19:46    2         A.   Well, we had more conversations about Jordan's

01:19:50    3     ring and everything than we did -- after that, once I

01:19:53    4     actually brought that up, they started calming down on

01:19:57    5     the questions and the aggressiveness of the questions.

01:19:59    6         Q.   They continued to ask you some questions, though,

01:20:02    7     about the restaurant, right?

01:20:03    8         A.   Yeah.

01:20:04    9         Q.   You all didn't just make chitchat the rest of the

01:20:07   10     time?    They actually asked you questions about your

01:20:10   11     employment at the restaurant, correct?

01:20:12   12         A.   It would be more along the lines of we had

01:20:14   13     conversation, then there was a question here and there

01:20:17   14     once I started questioning stuff about what they were

01:20:19   15     saying and their intentions.

01:20:22   16         Q.   Ms. Fishman at one point in the conversation

01:20:25   17     asked you to review a statement or a declaration on her

01:20:29   18     laptop, right?

01:20:30   19         A.   I asked to see it and review it.             She did not

01:20:35   20     willfully offer that to me.

01:20:37   21         Q.   She did show it to you though, correct?

01:20:39   22         A.   Yeah.    She let me revise it.         And I took out

01:20:42   23     about two and a half pages of stuff that was not right

01:20:47   24     and very misconstrued statements.

01:20:50   25         Q.   So you asked to review your statement?




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                                              Dillon - Cross                            38


01:20:52    1         A.   Yes.

01:20:52    2         Q.   She then provided you with access to her laptop?

01:20:55    3         A.   Uh-huh.

01:20:57    4         Q.   Correct?

01:20:57    5         A.   Yes, sir.

01:20:58    6         Q.   Then you edited the statement?

01:21:01    7         A.   Yes.

01:21:02    8         Q.   Then Ms. Whitlock went to the Marriott to obtain

01:21:08    9     a copy of the statement, correct?

01:21:10   10         A.   Yes.

01:21:10   11         Q.   You then signed the statement, right?

01:21:13   12         A.   Yes.    Because it was -- she asked:           Sign here.

01:21:17   13     So I signed.

01:21:19   14         Q.   The statement says that it's executed under

01:21:22   15     penalty of perjury right above your signature, correct?

01:21:25   16         A.   It was my day off.        I was wanting -- I did not --

01:21:29   17     I was not fully aware -- okay, yeah.              If I needed to

01:21:33   18     read more, then I should have read more.               But that was

01:21:36   19     not on the actual computer whenever she was showing me

01:21:41   20     the thing.      I was only reading the computer.            So

01:21:43   21     whenever she brought me what she had printed off, I just

01:21:47   22     signed it.      There was just a bunch of bullets and, like,

01:21:54   23     sentences whenever I was revising it.              Then whenever she

01:21:59   24     brought the paper to me it actually had the signing --

01:22:01   25     like, the signing, like, line on the bottom.




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                                              Dillon - Cross                                39


01:22:06    1         Q.   Right above that line it said, "Executed under

01:22:09    2     penalty of perjury," correct?             You saw that?

01:22:13    3         A.   Did I read it?        No.

01:22:15    4         Q.   I thought you told us you read the affidavit

01:22:18    5     before you signed it.

01:22:20    6         A.   I read everything on the computer.             When she

01:22:24    7     brought what was printed off, I just assumed that

01:22:28    8     whatever was on the computer was what was there.

01:22:33    9         Q.   She provided you with an opportunity to review

01:22:35   10     the affidavit?

01:22:36   11         A.   Yes, she did.       I did not.

01:22:38   12         Q.   She didn't rush you out of there?

01:22:40   13         A.   No, I wouldn't say she rushed me out of there.

01:22:45   14         Q.   You had time to review it?           You had time?       As you

01:22:48   15     said, you made corrections on the computer?

01:22:50   16         A.   I made the corrections on the computer.                And out

01:22:53   17     of trust I assumed that everything would have been the

01:22:55   18     same, so I signed it.

01:23:00   19                     MR. HUNT:     Your Honor, if I could approach.

01:23:12   20                     (Document is handed to the Court.)

01:23:18   21                     THE COURT:     You've handed up something

01:23:19   22     that's been marked Exhibit A.

01:23:22   23                     MR. HUNT:     Just to lessen the confusion of

01:23:23   24     the numbers, this was Exhibit A to our response to --

01:23:28   25                     THE COURT:     So this is your Exhibit Number




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                                              Dillon - Cross                                40


01:23:30    1     2?

01:23:31    2                     MR. HUNT:     Correct.     This would be Exhibit

01:23:32    3     Number 2.

01:23:33    4                     THE COURT:     And you would ask the clerk to

01:23:34    5     mark it as such?

01:23:35    6                     MR. HUNT:     Yes, please.      Thank you.

01:23:42    7                     If I could show that to Mr. Dillon.

01:23:47    8                     THE COURT:     Do you have an understanding of

01:23:49    9     how to work our equipment in this courtroom?

01:23:52   10                     MR. HUNT:     Probably not, Your Honor.

01:23:53   11                     THE COURT:     So where are you from?

01:23:55   12                     MR. HUNT:     Atlanta.

01:23:57   13                     THE COURT:     Who is your local counsel?

01:24:01   14                     MS. GIBBONS:      Susanna Gibbons, Your Honor.

01:24:07   15                     THE COURT:     You should be able to work that

01:24:10   16     equipment.

01:24:11   17                     MS. GIBBONS:      I'm sorry, Your Honor.

01:24:13   18                     THE COURT:     Now is the time to start.           Walk

01:24:16   19     over and pull up the -- I've asked the clerk to go over

01:24:20   20     and help a little bit.

01:26:28   21     BY MR. HUNT:

01:26:28   22          Q.   Mr. Dillon, do you see what's been marked as

01:26:31   23     Defendant's Exhibit Number 2?

01:26:35   24                     THE COURT:     Let's clear the arrow.           Don't

01:26:43   25     touch the screen.        If they ask you to mark it -- this is




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                                              Dillon - Cross                            41


01:28:04    1     meant to improve efficiencies, but everybody's got to

01:28:09    2     know how it works.        We'll keep on going.

01:28:13    3     BY MR. HUNT:

01:28:13    4         Q.   Mr. Dillon, I'm going to show you what's been

01:28:16    5     marked Defendant's Exhibit Number 2.              Is this a copy of

01:28:19    6     the declaration that you provided to Ms. Whitlock and

01:28:24    7     Ms. Fishman at the meeting at the Starbucks in Raleigh?

01:28:29    8         A.   Uh-huh.

01:28:30    9         Q.   Yes?

01:28:30   10         A.   Yes, sir.

01:28:31   11         Q.   If you could, on the second page of the

01:28:37   12     declaration, is that your signature at the bottom?

01:28:40   13         A.   Yes, sir.

01:28:41   14         Q.   Immediately above that does it say, "I declare

01:28:43   15     under penalty of perjury under the laws of the State of

01:28:47   16     North Carolina that the foregoing is true and correct"?

01:28:50   17         A.   Yes, sir.     But whenever I'm reading it, even now

01:28:53   18     looking at it it all looks like one big sentence.               Under

01:28:59   19     Title 11.

01:29:03   20         Q.   Mr. Dillon, during the conversation that you had

01:29:06   21     with Ms. Whitlock and Ms. Fishman, did they threaten you

01:29:10   22     at any time?

01:29:11   23         A.   No.

01:29:11   24         Q.   Did they yell at you at any time?

01:29:13   25         A.   No.




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                                              Dillon - Cross                      42


01:29:13    1         Q.   Did they raise their voice at any time?

01:29:15    2         A.   No.

01:29:16    3         Q.   Were you scared of Ms. Fishman?

01:29:18    4         A.   No.

01:29:19    5         Q.   Were you scared of Ms. Whitlock?

01:29:21    6         A.   No.

01:29:23    7         Q.   In fact, when you left the meeting, did you

01:29:29    8     basically make a gesture with your middle finger with

01:29:32    9     respect to An?

01:29:39   10         A.   Probably.     So is that on here?

01:29:43   11         Q.   You were trying to indicate your contempt for the

01:29:46   12     defendants, correct?

01:29:47   13         A.   No, halfway through the meeting I realized who I

01:29:50   14     was talking to.       I would have never spoken with you

01:29:52   15     guys; I would have never been part of this.

01:29:54   16         Q.   And after you -- and according to your testimony,

01:29:58   17     after this revelation came to you, you continued to

01:30:02   18     talk, correct, and participate in the meeting?

01:30:05   19         A.   Because I was sitting in front of two women and

01:30:07   20     was being asked questions does not mean that I wanted to

01:30:10   21     continue.       I thought that I was supposed to continue.

01:30:13   22         Q.   You could have left at any time, right?

01:30:15   23         A.   Yes.

01:30:16   24         Q.   You could have discontinued the conversation?

01:30:19   25         A.   But it's called rude.




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                                              Dillon - Cross                              43


01:30:21    1         Q.   You could have excused yourself politely and

01:30:24    2     left, right?

01:30:25    3         A.   Still had no reason to.          I mean, it's not like

01:30:28    4     someone was calling me and I've got to go answer my

01:30:30    5     phone.

01:30:31    6         Q.   Following the meeting that you had with Ms.

01:30:33    7     Whitlock and Ms. Fishman, you texted Ms. Whitlock,

01:30:38    8     correct?

01:30:40    9         A.   I texted Ms. Whitlock?           No, I called them

01:30:43   10     immediately whenever I walked out.             And then after I

01:30:46   11     spoke with them, then I texted her.

01:30:48   12         Q.   So by "them" you mean plaintiff's counsel, Ms.

01:30:52   13     Hernandez?

01:30:53   14         A.   You're confusing me now, your broad generalities.

01:30:59   15     You said once I walked out, but then how long?                  Days?

01:31:02   16     Weeks?     Minutes?

01:31:03   17         Q.   Once you left the meeting, that afternoon, did

01:31:06   18     you call Ms. Hernandez and Mr. Cohen?

01:31:08   19         A.   Yes.

01:31:09   20         Q.   You knew they represented Mr. Kelly and Mr. Tom,

01:31:13   21     correct?

01:31:14   22         A.   At that point I did.

01:31:16   23         Q.   And you'd known that since Mr. Kelly had

01:31:21   24     contacted you about the case back in 2017?

01:31:24   25         A.   All right.      So whenever Brandon had sent me that




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                                              Dillon - Cross                        44


01:31:27    1     text, there was no name of a law firm attached with a

01:31:31    2     number.     I just knew a number.         When I realized that you

01:31:36    3     guys represented An as going against them, I looked back

01:31:41    4     through my text and called the number that he had sent

01:31:44    5     me, and that's who answered.           I did not know who I was

01:31:49    6     calling.

01:31:50    7         Q.    So you called a number that Mr. Kelly had sent

01:31:52    8     you?

01:31:52    9         A.    Absolutely.

01:31:54   10         Q.    You then in the course of your text messages you

01:31:58   11     asked Ms. Whitlock for a copy of the declaration you

01:32:05   12     signed, right?

01:32:06   13         A.    Yes.   I had to go out of my way to ask her for a

01:32:09   14     declaration after I had spoken with them because they

01:32:12   15     made it very clear -- I was not given any information.

01:32:14   16         Q.    In fact, she told you at the end of the

01:32:17   17     conversation that she couldn't give you the declaration

01:32:19   18     right there without having to go back to the Marriott to

01:32:22   19     print it off, correct?

01:32:23   20         A.    That's not true.

01:32:24   21         Q.    So you -- but when you asked her through the text

01:32:29   22     message for the declaration, she provided it to you?

01:32:33   23     She emailed it to you?

01:32:35   24         A.    She sent it to me over email, but I had to go out

01:32:38   25     of my way to ask for it.




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                                               Dillon - Cross                              45


01:32:39    1         Q.    You texted her back after getting it and after

01:32:42    2     having it in your possession and said you weren't going

01:32:45    3     to make any changes to it, right?

01:32:46    4         A.    Yes.     Because I had felt -- I just wanted to

01:32:49    5     relook over what I had said.           And I'm still comfortable

01:32:53    6     with everything that's on here.

01:32:55    7         Q.    So there's nothing in the declaration that you

01:32:57    8     disagree with?

01:32:59    9         A.    I mean, maybe the fact that I just quickly

01:33:03   10     overlooked, "I declare under the penalty."                That's about

01:33:07   11     the only thing.        I went and looked through it.            I feel

01:33:10   12     confident with what I had to edit and make and what I

01:33:14   13     signed.     Yes.

01:33:16   14         Q.    Did Ms. Fishman or Ms. Whitlock at any time ever

01:33:19   15     ask you to do anything other than tell them about the

01:33:24   16     facts concerning your employment at An?

01:33:27   17         A.    No.

01:33:29   18                      MR. HUNT:     Thank you.     I don't have anything

01:33:30   19     further -- one more.          I'm sorry, one more thing, Your

01:33:34   20     Honor.

01:33:34   21                      Your Honor I would like to move Exhibits 1

01:33:36   22     and 2 into evidence.

01:33:37   23                      THE COURT:     All right.     Let them be

01:33:39   24     received.

05:25:52   25                      (Whereupon Defendant's Exhibits 1 and 2 are




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                                            Dillon - Redirect                          46


05:25:54    1     admitted into evidence.)

01:33:43    2                                       - - -

01:33:43    3                   JUSTIN DILLON, REDIRECT EXAMINATION

01:33:44    4     BY MS. HERNANDEZ:

01:33:44    5         Q.   Mr. Dillon, I just have a couple questions.

01:33:46    6     Going back to Defendant's Exhibit A, which is a

01:33:48    7     transcription of the discussion that you had with Ms.

01:33:51    8     Whitlock, if you -- do you have a copy of Defendant's

01:33:55    9     Exhibit A in front of you?

01:33:57   10         A.   I do not.

01:34:01   11                     THE COURT:     Okay.      We're going to call it 1

01:34:03   12     or 2.    So you're referring to, I believe, 2, which is

01:34:07   13     the transcript.

01:34:08   14                     MS. HERNANDEZ:       It's Exhibit 1, Your Honor.

01:34:09   15                     THE COURT:     Exhibit 1.      And that was the --

01:34:13   16     what was that?

01:34:14   17                     MS. HERNANDEZ:       This was the transcription

01:34:16   18     of the recording of the recorded discussion between

01:34:21   19     defendant's paralegal -- defendant's counsel's

01:34:25   20     paralegal, Ms. Erin Whitlock, and Justin Dillon.

01:34:29   21                     THE COURT:     So we don't have that in

01:34:31   22     evidence?

01:34:34   23                     MR. HUNT:     Yes, Your Honor.        I think that

01:34:35   24     was Exhibit 1, the transcript.

01:34:37   25                     THE COURT:     I thought you were talking about




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                                            Dillon - Redirect                             47


01:34:39    1     transcript of a telephone -- yes, this is the phone

01:34:42    2     recording.      Okay.

01:34:45    3                     MS. HERNANDEZ:       I just thought that Mr.

01:34:46    4     Hunt, defendant's counsel, had handed up the copy.

01:34:51    5                     THE COURT:     Well, you can pull up your

01:34:52    6     camera and turn it on and open it up to any page, and it

01:34:56    7     will show on the witness's screen.

01:35:05    8                     THE WITNESS:      I would like to hear that

01:35:07    9     recording.

01:35:07   10                     THE COURT:     You'll have to switch the camera

01:35:09   11     over.    And both of you need a lesson in this.                 Would the

01:35:14   12     clerk go over.       And she's going to get some additional

01:35:19   13     information to you.

01:35:20   14                     MS. HERNANDEZ:       I can assure you, Your

01:35:22   15     Honor, after this hearing we will do everything we can

01:35:24   16     to make sure we're trained.

01:35:29   17                     THE COURT:     We'll get you both some

01:35:31   18     training.

01:35:34   19                     MS. HERNANDEZ:       I think Mr. Cohen's already

01:35:38   20     figured it out.

01:35:47   21                     THE COURT:     So what page are you on?

01:35:49   22                     MS. HERNANDEZ:       Your Honor, I am on page 9

01:35:51   23     of the transcription.

01:35:52   24                     THE COURT:     All right.

01:35:57   25     BY MS. HERNANDEZ:




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01:35:57    1         Q.   Mr. Dillon, you see page 9 of the recorded

01:36:00    2     conversation that you had with defendant's counsel's

01:36:03    3     paralegal, Ms. Erin Whitlock?

01:36:06    4         A.   Yes.

01:36:06    5         Q.   And just so that the Court and counsel here for

01:36:12    6     the parties are clear, do you understand that this was a

01:36:17    7     recording of the discussion that you had with Ms.

01:36:20    8     Whitlock?

01:36:21    9         A.   I am, once again, trusting that this is exactly

01:36:27   10     to word-for-word for what was said.             Yes.    I don't know

01:36:30   11     how that works whenever you have to write it down.

01:36:32   12         Q.   And just for the record, Mr. Dillon, were you

01:36:36   13     advised that your discussion with Ms. Whitlock would be

01:36:38   14     recorded?

01:36:39   15         A.   No, I was not.

01:36:40   16         Q.   So turning to page 9 here, line 12, it says

01:36:51   17     here -- you say, "I mean, definitely -- and for the

01:36:54   18     restaurant, we had people from back of the house

01:36:57   19     stepping on front of the house soil and we were tipping

01:36:59   20     out back of the house, which is also illegal."

01:37:01   21              Do you see that, Mr. Dillon?

01:37:03   22         A.   Yes.

01:37:04   23         Q.   And then line 17 Ms. Whitlock asks you, "What do

01:37:09   24     you mean by stepping on front of the house soil?"

01:37:13   25              And then going to line 19, it says here, "So




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                                            Dillon - Redirect                      49


01:37:18    1     whatever ... back of the house ... legally if you are a

01:37:23    2     kitchen position, you are not allowed to be tipped out

01:37:25    3     by front of the house.         If you are back of the house,

01:37:27    4     you're not allowed out of the kitchen, you are supposed

01:37:34    5     to stay there and cook or do your job and they

01:37:34    6     definitely" -- going to page 10, "I was tipping out

01:37:36    7     somebody that never set foot on front of the house."

01:37:39    8              Did I read that correctly, Mr. Dillon?

01:37:41    9         A.   Yes, ma'am.

01:37:42   10         Q.   Then Ms. Whitlock said, "Okay.            So you were

01:37:50   11     tipping out somebody that was back of the house."

01:37:52   12              Did I read that correctly?

01:37:53   13         A.   Yes.

01:37:53   14         Q.   Then line 5 you said, "A back of the house

01:37:55   15     person, yeah.      He was expo, or expediter."

01:37:57   16         A.   Yes.

01:37:58   17         Q.   Did I read that correctly?

01:37:59   18         A.   Yes, ma'am.

01:38:00   19         Q.   And then line 8, it says there, "But he never

01:38:03   20     once stepped foot on the front of the house soil and

01:38:06   21     that -- I know that for a fact as management, I know

01:38:10   22     that's illegal."

01:38:11   23              Did I read that correctly?

01:38:12   24         A.   Yes, ma'am.

01:38:12   25         Q.   What did you mean when you made those statements,




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                                            Dillon - Redirect                           50


01:38:16    1     Mr. Dillon?

01:38:17    2         A.   I know that legally -- oh, the position that he

01:38:22    3     was hired for does not require a front of the house tip

01:38:28    4     out, period.      Any restaurant I've ever worked at in my

01:38:34    5     entire life, even when I got into management, that was

01:38:37    6     something that had always been instilled to me.                 You

01:38:40    7     don't tip out a chef; you don't tip out expediters.

01:38:44    8     It's a back of the house position.             That's an hourly

01:38:46    9     position.     That's not tipped.

01:38:47   10         Q.   So, Mr. Dillon, if I understood you correctly,

01:38:50   11     are you suggesting that an expo, his position is back of

01:38:53   12     the house and not front of the house?

01:38:55   13         A.   Expediter is a back of the house position.               It is

01:38:58   14     paid by back of the house hourly.

01:39:02   15         Q.   So a back of the house expo position is not

01:39:05   16     engaging in client interaction; is that correct?

01:39:07   17                     MR. HUNT:     Objection.      This is beyond the

01:39:09   18     scope of the hearing, Your Honor.             I think she's

01:39:11   19     getting --

01:39:11   20                     THE COURT:     How does this fit in?

01:39:13   21                     MS. HERNANDEZ:       Your Honor, the only reason

01:39:15   22     I'm bringing this up is there are some discrepancies

01:39:17   23     here from what he testified to in this recorded

01:39:20   24     discussion versus what's in the declaration, another

01:39:23   25     suggestion that the information was not entirely clear




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01:39:28    1     to Mr. Dillon in terms of the nature of the declaration

01:39:31    2     he was signing and the purpose of the evidence being

01:39:35    3     gathered and what it was going to be used for.

01:39:38    4                     THE COURT:     Okay.    Well, let's try to move

01:39:42    5     it along.

01:39:44    6     BY MS. HERNANDEZ:

01:39:47    7         Q.   And now turning to Defendant's Exhibit Number 2,

01:39:51    8     Mr. Dillon.

01:40:17    9              So, Mr. Dillon, turning to Defendant's Exhibit

01:40:19   10     Number 2, this is the declaration that you signed for

01:40:24   11     defendant's counsel, correct?

01:40:25   12         A.   Yes, ma'am.

01:40:26   13         Q.   And as you sit here today, Mr. Dillon, is it

01:40:32   14     appropriate to say that there is no case caption,

01:40:35   15     there's nothing here to suggest that -- what the case --

01:40:37   16     the nature of the case is or anything like that; is that

01:40:40   17     correct?

01:40:40   18                     MR. HUNT:     Objection.      Leading.

01:40:43   19                     THE COURT:     Well, I mean, I can see it.

01:40:49   20     BY MS. HERNANDEZ:

01:40:49   21         Q.   Mr. Dillon, if you turn to paragraph 7 it says

01:40:53   22     here in Defendant's Exhibit Number 2, "Nick would come

01:40:57   23     to the front of the house while working as an expo."

01:41:02   24     Would you agree that that information is somewhat

01:41:05   25     inconsistent with the recorded discussion you had with




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                                            Dillon - Redirect                           52


01:41:08    1     Erin Whitlock?

01:41:09    2         A.   Yes.

01:41:10    3                     MR. HUNT:     Objection.      Objection, leading.

01:41:12    4     I'd also like to ask him about his testimony on page --

01:41:17    5     excuse me.

01:41:18    6                     THE COURT:     You will get a chance to do a

01:41:21    7     recross.

01:41:24    8                     MR. HUNT:     Thank you.

01:41:24    9                     THE COURT:     And it is leading, and that

01:41:26   10     objection is sustained.

01:41:29   11     BY MS. HERNANDEZ:

01:41:30   12         Q.   In reading paragraph number 7, Mr. Dillon, could

01:41:33   13     you please read that out loud?

01:41:35   14         A.   "Nick would come to the front of the house while

01:41:37   15     working as an expo.         Expo was responsible for making

01:41:40   16     sure food got to the right table.             Nick did it on his

01:41:43   17     own accord instead of yelling for runners.                He wanted

01:41:46   18     the food to go out on time, when it needed to go out and

01:41:50   19     he would carry the food to the table.              But his position

01:41:52   20     was back of the house."

01:41:54   21         Q.   And could you just simply clarify what you mean

01:41:58   22     by this paragraph, Mr. Dillon?

01:42:00   23         A.   All right.      So as I explained it to you, if I'm a

01:42:04   24     server, and I see that I need a steak cooked, and it's

01:42:07   25     taking too long, if I go step behind the kitchen and




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                                            Dillon - Recross                           53


01:42:10    1     cook a steak, it's not my responsibility or my job.             He

01:42:15    2     takes it upon himself to go do that because he just

01:42:17    3     wants to go see people.          It was not his job.

01:42:21    4         Q.    And, Mr. Dillon, as you sit here today, do you

01:42:24    5     recall why defendant's counsel were asking you questions

01:42:28    6     about the nature of Nick Pappas's position at An?

01:42:35    7         A.    To tell you the truth, I thought that Brandon and

01:42:39    8     Wai were suing over back pay.             I didn't even know that

01:42:44    9     Nick Pappas was even a part of it when they were asking

01:42:48   10     these questions.       That's when I started getting the

01:42:50   11     weird feeling.

01:42:51   12                     MS. HERNANDEZ:       Thank you very much, Mr.

01:42:52   13     Dillon.     I have no further questions.

01:42:52   14                                       - - -

01:42:52   15                    JUSTIN DILLON, RECROSS-EXAMINATION

01:42:55   16     BY MR. HUNT:

01:42:55   17         Q.    Mr. Dillon, I'd like to ask you a few questions

01:42:59   18     in light of counsel's questions.

01:43:02   19               Exhibit 1, if you could turn to page 11.

01:43:05   20         A.    I can't turn the page.

01:43:07   21                     MR. HUNT:     I'm sorry.

01:43:09   22                     THE COURT:     We're not that technically savvy

01:43:12   23     yet.

01:43:24   24     BY MR. HUNT:

01:43:24   25         Q.    If I could direct your attention, this is page 11




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                                            Dillon - Recross                             54


01:43:28    1     of the transcript of the telephone call.               And at number

01:43:36    2     12 -- or, excuse me, line 12, Ms. Whitlock says, "The

01:43:44    3     right food to the right table.            What do you mean like

01:43:47    4     by... like how do they do that?"

01:43:49    5              You said, "So they ... the kitchen puts food in

01:43:52    6     a -- on a shelf."

01:43:54    7              She said, "Uh-huh."

01:43:55    8              You replied, "And then the expo takes the food,

01:43:57    9     makes sure it's to the right table."

01:44:00   10              So do they take it to the table?

01:44:02   11         A.   The right food to the table means that you call

01:44:05   12     for hands and you tell them:           Table 3, position 1.      You

01:44:08   13     don't take the food.         That is -- this is -- you need to

01:44:13   14     work in restaurants to understand what I'm saying.

01:44:15   15         Q.   Then let me ask you about page 12 where Ms.

01:44:27   16     Whitlock said, "But are they taking it to the table?"

01:44:29   17              And you said, "No.        They will -- they will take

01:44:33   18     it to the table, and then that's why they felt obligated

01:44:37   19     that we tip them out."

01:44:39   20         A.   It's not their job.         And because someone demands

01:44:42   21     money does not mean that that is the rule for the

01:44:45   22     restaurant.

01:44:46   23         Q.   Sir, I understand that that's your opinion.

01:44:49   24     But --

01:44:50   25         A.   That's one sentence.         You're misconstruing it.




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                                            Dillon - Recross                           55


01:44:53    1         Q.   You told --

01:44:53    2                     THE COURT:     One second.      Did you have

01:44:56    3     another answer?

01:44:56    4                     THE WITNESS:      Yes.

01:44:57    5         A.   You're misconstruing that.           I did not mean it

01:44:59    6     like that.      That is how it was written out, or that's

01:45:01    7     how it sounds, but that is not what I meant.

01:45:04    8         Q.   You told Ms. Whitlock that on occasion Mr.

01:45:09    9     Pappas, the expediter, would take food to the table; is

01:45:13   10     that correct?

01:45:13   11         A.   He would take it upon himself.            Just as I said,

01:45:16   12     if your neighbor's grass needed cut, if you want to go

01:45:19   13     cut it, are you going to ask him for money?

01:45:23   14         Q.   So Mr. Pappas would take food on occasion to the

01:45:27   15     table, correct?

01:45:28   16         A.   On his own accord, not his job.

01:45:31   17         Q.   You weren't in management at An, correct?

01:45:34   18         A.   No, I was not.

01:45:35   19         Q.   You weren't -- you didn't supervise Mr. Pappas,

01:45:38   20     correct?

01:45:39   21         A.   No.

01:45:40   22                     MR. HUNT:     Thank you.      Nothing further, Your

01:45:44   23     Honor.

01:45:44   24                     THE COURT:     All right.      Are we finished with

01:45:46   25     this witness?




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                                            Dillon - Recross                                  56


01:45:47    1                     MS. HERNANDEZ:       I am, Your Honor.          Thank

01:45:48    2     you.

01:45:48    3                     THE COURT:     Thank you.      You can step down.

01:45:51    4                     Do you have another witness?

01:45:53    5                     MS. HERNANDEZ:       No, Your Honor.

01:45:54    6                     THE COURT:     Any other evidence?

01:45:55    7                     MS. HERNANDEZ:       No other evidence, Your

01:45:57    8     Honor.

01:45:57    9                     THE COURT:     Okay.     Well, let's turn our

01:45:59   10     attention to the defendant.

01:46:00   11                     Do you have a witness?

01:46:01   12                     MR. HUNT:     Well, Your Honor, I would like to

01:46:04   13     have Ms. Whitlock --

01:46:05   14                     THE COURT:     And this witness is excused.             I

01:46:07   15     don't know if he came by subpoena.

01:46:11   16                     THE WITNESS:      No, I didn't come by subpoena.

01:46:14   17     Can I shake hands with everybody?

01:46:17   18                     THE COURT:     Certainly.

01:46:22   19                     MR. HUNT:     I would like to have Ms. Whitlock

01:46:25   20     testify, and perhaps briefly Ms. Fishman, if that is

01:46:29   21     okay.

01:46:29   22                     THE COURT:     All right.      And thank you for

01:46:38   23     sequestering her.

01:47:02   24                     THE CLERK:     Please come forward and stand in

01:47:04   25     front of the clerk's bench.            Place your left hand on the




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                                            Whitlock - Direct                          57


01:47:09    1     Bible and raise your right hand.

01:47:10    2                     State your name for the Court.

01:47:12    3                     THE WITNESS:       Erin Whitlock.

01:47:13    4                     THE COURT:       Spell your name for the Court.

01:47:14    5     E-r-i-n W-h-i-t-l-o-c-k.

01:47:19    6                     THE CLERK:       Thank you.

01:47:20    7                     (Whereupon the witness was sworn by the

01:47:27    8     clerk.)

01:47:27    9                     THE CLERK:       Please take the witness stand

01:47:29   10     and be seated.

01:47:31   11                                        - - -

01:47:31   12                     ERIN WHITLOCK, DIRECT EXAMINATION

01:47:31   13     BY MR. HUNT:

01:47:31   14         Q.    Ms. Whitlock, where do you work?

01:47:41   15         A.    I'm sorry.     What?

01:47:42   16         Q.    Where do you work?        For whom do you work?

01:47:44   17         A.    Stokes Wagner in Atlanta.

01:47:46   18         Q.    What is Stokes Wagner?

01:47:47   19         A.    I'm a paralegal.

01:47:48   20         Q.    Stokes Wagner is a law firm that represents --

01:47:52   21         A.    Yes, it's a law firm in Atlanta, Georgia.             We

01:47:56   22     have offices all over, but...

01:48:00   23         Q.    You have worked in connection with the lawsuit

01:48:05   24     that's been filed against An Restaurant and other

01:48:10   25     defendants here in court, correct?




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                                            Whitlock - Direct                          58


01:48:11    1         A.   Correct.

01:48:12    2         Q.   During the course of that work have you ever had

01:48:15    3     any contact with Mr. Justin Dillon?

01:48:18    4         A.   Yes, I have.

01:48:19    5         Q.   When was the first occasion that you had contact

01:48:22    6     with him?

01:48:22    7         A.   I believe it was early March.            I don't recall the

01:48:28    8     exact date.      But a colleague of mine, Ms. Sarah St.

01:48:34    9     Pierre, transferred a call to me from him.

01:48:43   10         Q.   How did that conversation begin?

01:48:45   11         A.   Ms. St. Pierre said that she was -- wanted to

01:48:50   12     make sure that I confirmed his understanding of things.

01:48:54   13     She -- as we had worked together to contact people, she

01:48:58   14     would go, kind of, over a script with them.                And she

01:49:03   15     just wanted to make sure he understood the points to

01:49:08   16     that.    And so when I began to speak with him, I

01:49:11   17     confirmed that he understood who we represented and that

01:49:14   18     it was voluntary, I think were the first two things I

01:49:17   19     said.

01:49:17   20         Q.   That what was voluntary?

01:49:18   21         A.   That he -- I said he could stop talking at any

01:49:22   22     point in time.

01:49:23   23         Q.   Did you record the conversation?

01:49:26   24         A.   Yes.

01:49:27   25         Q.   Was a recording of that transcribed?




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                                            Whitlock - Direct                     59


01:49:32    1         A.   Yes.

01:49:33    2         Q.   Have you had an opportunity to review that

01:49:34    3     transcription?

01:49:35    4         A.   Yes, I have.

01:49:37    5         Q.   Was that a true and accurate transcription of

01:49:39    6     your conversation with Mr. Dillon?

01:49:40    7         A.   Yes.

01:49:45    8         Q.   During your conversation -- and I don't want you

01:49:51    9     to repeat it line for line, but what kinds of questions

01:49:55   10     did you ask him?

01:49:57   11         A.   Just questions about his employment and what he

01:50:02   12     remembered from working at the restaurant.

01:50:08   13         Q.   Did he express any reluctance to you to answer

01:50:11   14     those questions?

01:50:12   15         A.   No.    There was only one question that he said he

01:50:15   16     didn't want to answer, and that was -- had something to

01:50:19   17     do with his prior employment.

01:50:22   18         Q.   During any time -- or at any time during that

01:50:26   19     conversation did the subject of settlement or resolving

01:50:30   20     any claim Mr. Dillon might have come up?

01:50:34   21         A.   No.

01:50:35   22         Q.   Did you ask him to consider settling any claim he

01:50:41   23     might have in any way?

01:50:42   24         A.   No.

01:50:42   25         Q.   At that time had Mr. Dillon filed a consent to




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                                            Whitlock - Direct                              60


01:50:50    1     sue?

01:50:50    2         A.    No.

01:50:53    3         Q.    Did you ask him not to file a consent to sue?

01:50:56    4         A.    No.

01:50:58    5         Q.    Did you tell him not to participate in the case

01:51:02    6     in any fashion?

01:51:03    7         A.    No.

01:51:06    8         Q.    About how long was your conversation with Mr.

01:51:09    9     Dillon?

01:51:09   10         A.    I think it was around 15 minutes, 15 or 16

01:51:14   11     minutes.        I'm not sure.

01:51:16   12         Q.    Was there anything other than the nature of his

01:51:22   13     employment at An that the two of you discussed?

01:51:26   14         A.    No.     We -- I mean, I went through just asking him

01:51:32   15     questions about how he felt about things at An.                 Then I

01:51:36   16     said that there may be somebody else at our office that

01:51:39   17     may want to speak with him.           And I asked him if he was

01:51:42   18     willing to give a statement.

01:51:45   19         Q.    Following the conversation, what, if any, was

01:51:48   20     your next contact with Mr. Dillon?

01:51:51   21         A.    I sent him a text message asking if he would be

01:51:58   22     willing to meet.

01:52:01   23         Q.    Over the course of the next couple of weeks did

01:52:07   24     you send other text messages to Mr. Dillon?

01:52:10   25         A.    Yes.




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01:52:12    1         Q.   Did Mr. Dillon respond to those text messages?

01:52:15    2         A.   Yes.

01:52:15    3         Q.   Have you had an occasion to review those text

01:52:18    4     messages?

01:52:19    5         A.   Yes.

01:52:20    6         Q.   Have you had an occasion to make copies of those

01:52:23    7     text messages?

01:52:24    8         A.   To make copies of the text messages?

01:52:27    9         Q.   The text messages would appear on your cell

01:52:31   10     phone, correct?

01:52:32   11         A.   Yes.

01:52:33   12                      MS. HERNANDEZ:      Objection.     Leading.

01:52:34   13                      THE COURT:    Well, it's helpful.         She's

01:52:37   14     confused.       All right.

01:52:42   15     BY MR. HUNT:

01:52:42   16         Q.   From the text messages that were on your cell

01:52:44   17     phone, what did you do with them?

01:52:47   18         A.   I took, like, a screen shot of them so that

01:52:52   19     everybody else could view them.

01:52:57   20         Q.   You took screen shots of the text messages from

01:53:03   21     your phone?

01:53:03   22         A.   Yeah, between me and Justin Dillon.

01:53:06   23         Q.   Then what did you do with the screen shots?

01:53:10   24         A.   I sent them to our team so that they could see.

01:53:16   25         Q.   Did you ever have any occasion to print out those




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01:53:19    1     screen shots?

01:53:20    2         A.    Yeah, I think I actually printed them out right

01:53:23    3     when I took the screen shots.

01:53:25    4                      MR. HUNT:    Your Honor, if I could approach.

01:53:27    5     I like to show her an exhibit.

01:53:51    6                      THE COURT:     Did you want to show them to the

01:53:53    7     witness?

01:53:53    8                      MR. HUNT:    Yes, Your Honor.

01:53:56    9                      THE COURT:     Did you give her a copy?        Don't

01:54:00   10     you want to show them to the witness and ask her to

01:54:03   11     identify?

01:54:03   12                      MR. HUNT:    Yes, I do.

01:54:09   13                      THE COURT:     Is that your only copy?

01:54:10   14                      MR. HUNT:    We have one more.

01:54:16   15                      THE COURT:     These aren't in evidence yet.

01:54:16   16                      (Document is given to the witness by the

01:54:27   17     Court.)

01:54:27   18                      THE COURT:     You can just look through it,

01:54:28   19     then he's going to ask you a couple questions about

01:54:31   20     whether that's an accurate representation.

01:54:38   21                      THE WITNESS:     Okay.

01:54:40   22     BY MR. HUNT:

01:54:40   23         Q.    Ms. Whitlock, you have seen these documents

01:54:43   24     before?

01:54:43   25         A.    Yes.




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                                            Whitlock - Direct                      63


01:54:44    1         Q.    What are these?

01:54:45    2         A.    The screen shots that I took from my phone.

01:54:47    3         Q.    Screen shots of what?

01:54:48    4         A.    Of text messages between Justin Dillon and

01:54:51    5     myself.

01:54:51    6         Q.    Are these true and accurate copies of the text

01:54:55    7     messages that you exchanged with him --

01:54:58    8         A.    Yes.

01:54:58    9         Q.    -- during -- let me finish.

01:55:00   10               Are these true and accurate copies of the text

01:55:03   11     messages that you exchanged with him during March of

01:55:06   12     2018?

01:55:07   13         A.    Yes.

01:55:11   14                      MR. HUNT:    Your Honor, I'd like to move the

01:55:13   15     admission of Defendant's Exhibit Number 3.

01:55:15   16                      THE COURT:    Any objection?

01:55:16   17                      MS. HERNANDEZ:      No, Your Honor.

01:55:17   18                      THE COURT:    Let it be received.

05:25:52   19                      (Whereupon Defendant's Exhibit 3 is admitted

05:25:56   20     into evidence.)

01:55:22   21     BY MR. HUNT:

01:55:23   22         Q.    In the course of the text messages did you and

01:55:26   23     Mr. Dillon discuss meeting?

01:55:34   24         A.    Meeting, yes, we did.

01:55:36   25         Q.    What did the two of you discuss?




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                                            Whitlock - Direct                            64


01:55:38    1         A.    I asked if he had time to meet for, you know,

01:55:42    2     coffee.

01:55:43    3               And he said that that was fine; and said:

01:55:45    4     Downtown?

01:55:45    5               And I suggested a Starbucks and gave him an

01:55:50    6     address of a Starbucks that I looked up and was located

01:55:55    7     downtown.

01:55:55    8         Q.    What day did you agree to meet?

01:55:57    9         A.    I believe it was -- I said Monday, but I think

01:56:02   10     that that was the 19th.          I'm not sure.      I'd have to look

01:56:07   11     at a calendar.

01:56:09   12         Q.    You believe it was March 19, 2018?

01:56:11   13         A.    Yes.

01:56:13   14         Q.    Did you meet with Mr. Dillon at the Starbucks?

01:56:16   15         A.    I did.

01:56:18   16         Q.    Who arrived first?

01:56:20   17         A.    I arrived and Jordan Arkin Fishman, who is an

01:56:27   18     attorney from our firm; we arrived first.

01:56:33   19         Q.    How long were you there before Mr. Dillon

01:56:35   20     arrived?

01:56:36   21         A.    I think it was only a few minutes.            I had texted

01:56:42   22     Mr. Dillon and let him know what I was wearing and my

01:56:46   23     hair color so that he could recognize me when he got

01:56:49   24     there.     But I think it was only a few minutes.

01:56:54   25         Q.    How did the conversation with -- or how did you




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                                            Whitlock - Direct                                65


01:56:58    1     recognize Mr. Dillon?

01:56:59    2         A.    He said -- I think the term he used was Gamecock

01:57:06    3     or something.      But he had a sweatshirt on that had -- I

01:57:11    4     think it was a Gamecock logo or something like that.

01:57:15    5     But he looked kind of hesitant, and he walked up to us.

01:57:19    6     I said:     Oh, hey Justin, I'm Erin.

01:57:22    7         Q.    What occurred next?

01:57:23    8         A.    Jordan, she had never talked to him before, so

01:57:28    9     she introduced herself.          And then we sat down and

01:57:32   10     thanked him for coming and started talking to him about,

01:57:39   11     like -- Jordan went over a brief statement of this is

01:57:42   12     what the case is about and who we represented.                   Then we

01:57:47   13     said:     We're going to ask you some questions.                And

01:57:49   14     Jordan said, you know, I understand you previously

01:57:52   15     talked to Ms. Whitlock.

01:57:55   16         Q.    When you say that Jordan, Ms. Fishman, introduced

01:57:59   17     herself, what did she say during that introduction?

01:58:01   18         A.    I don't remember, like, the exact words; but I

01:58:05   19     think she just said:         I'm Jordan Fishman from Stokes

01:58:10   20     Wagner.

01:58:10   21         Q.    Did she say she was talking to him about the

01:58:13   22     case?

01:58:13   23         A.    Yes.

01:58:15   24         Q.    Did she say who she or you represented?

01:58:20   25         A.    I believe she did.       Yeah.    I mean, we said -- I




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                                            Whitlock - Direct                                66


01:58:24    1     just -- yeah.      She said -- she said we represented -- I

01:58:28    2     don't think she used the exact names of the defendants

01:58:32    3     was the thing.       She was, like, we represent An, SAS

01:58:40    4     maybe.     I don't recall the exact statement that she

01:58:43    5     said, but she did say who we represented.

01:58:45    6         Q.   There was a statement at the beginning of the

01:58:47    7     conversation, though, where she indicated who the two of

01:58:50    8     you were there -- or on whose behalf you were there for?

01:58:53    9         A.   Yeah.

01:58:54   10         Q.   What occurred during the conversation?

01:58:56   11         A.   We just talked to him about his work at An, what

01:59:02   12     his position was, what he did prior, you know.                   He made

01:59:08   13     it very clear that he did not think that the tip pool

01:59:14   14     was -- or he said any tip pools are illegal -- are

01:59:24   15     illegal.     He talked about the other people working

01:59:27   16     there.     He talked about his work around town.                At that

01:59:34   17     point actually he did disclose where -- his prior

01:59:37   18     employment.      He -- I think that's all I really remember.

01:59:45   19         Q.   At the end of the conversation did you ask him to

01:59:50   20     sign anything?

01:59:54   21         A.   Yes.

01:59:54   22         Q.   What was that?

01:59:55   23         A.   So I was -- I was typing notes on my computer,

01:59:59   24     and Jordan was typing the actual declaration as he was

02:00:07   25     talking.     And so she said, you know, as we've been




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                                            Whitlock - Direct                                67


02:00:13    1     talking we've been typing up a declaration of what

02:00:17    2     you've been saying.        And she handed him the computer and

02:00:23    3     said that he could make any edits that he wanted.                    Then

02:00:26    4     he went over some edits that he had, and we made them.

02:00:29    5     I don't think that -- he might have made a few himself,

02:00:34    6     but I don't remember clearly.           But he did have her

02:00:37    7     computer.     And then my printer wouldn't work.                And so I

02:00:43    8     walked next door to the Marriott to print it out and

02:00:46    9     came back over, and he signed it.             We read over it

02:00:51   10     again, I think, because Jordan made sure that he had

02:00:54   11     read over it once again just to make sure it was the

02:00:57   12     final copy.

02:00:58   13         Q.   Did he ask you to add anything to the

02:01:02   14     declaration?

02:01:03   15         A.   Yeah.    I know that one thing that he asked us to

02:01:10   16     add was he was just talking about Brandon Kelly at one

02:01:14   17     point, I don't remember at what exact point it is, but

02:01:18   18     he asked us to add Wai Man Tom because he didn't want it

02:01:23   19     to only be -- you know, to Brandon, or I don't know his

02:01:27   20     exact words.

02:01:29   21         Q.   Did you make that change?

02:01:30   22         A.   Yeah.    Yes.

02:01:32   23         Q.   Did the number of changes that he made to the

02:01:41   24     document, how extensive were those?

02:01:46   25         A.   They weren't very extensive.           Well, and the




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                                            Whitlock - Direct                            68


02:01:50    1     changes that were made, it was like, you know, a

02:01:53    2     spelling error or adding that person's name or -- I

02:02:00    3     don't -- I think that's it.           I don't know that any,

02:02:03    4     like, large substantive changes that were made to the

02:02:06    5     document.

02:02:07    6         Q.   After the meeting at the Starbucks, did you have

02:02:11    7     any other communication with Mr. Dillon?

02:02:16    8         A.   He sent me a text message; I believe it was on

02:02:22    9     the 21st.     And he, you know, stated that he had

02:02:31   10     contacted plaintiff's counsel and stated that he wanted

02:02:37   11     to edit his statement.         And I confirmed that he was not

02:02:46   12     represented by counsel at that time.              And I emailed

02:02:53   13     him -- I got his email, and I emailed him the statement.

02:02:57   14     And he said he did not have any changes.

02:03:01   15         Q.   I just direct your attention to Exhibit 3.               If

02:03:05   16     you could look at the last page of the document, the

02:03:14   17     text message that says, "No edits, just been reeling it

02:03:20   18     over and my head and just wanted hard copy, thank you."

02:03:26   19              Is that your message, or is that Mr. Dillon's

02:03:29   20     message?

02:03:29   21         A.   That's Mr. Dillon's message.

02:03:32   22         Q.   It says, "Okay!       Thank you!"      That is also your

02:03:37   23     message?

02:03:37   24         A.   "Okay!    Thank you!" is from me.

02:03:39   25         Q.   So in this exhibit the text messages that are in




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                                            Whitlock - Direct                     69


02:03:43    1     blue are the ones that you sent, and the ones that are

02:03:46    2     in gray are the ones that Mr. Dillon sent?

02:03:48    3         A.   Correct.

02:03:54    4         Q.   After the conversation -- or, excuse me, after

02:03:57    5     the exchange of text messages with Mr. Dillon, after the

02:04:01    6     meeting at Starbucks, did you have any further contact

02:04:05    7     with him?

02:04:06    8         A.   No.

02:04:13    9         Q.   At any time during the course of your

02:04:15   10     conversations did you ever attempt to ask Mr. Dillon or

02:04:21   11     encourage Mr. Dillon not to participate in the lawsuit

02:04:25   12     that's been brought against An?

02:04:28   13         A.   No.

02:04:48   14         Q.   During the course of your conversations with Mr.

02:04:51   15     Dillon did you ever say anything that was negative or

02:04:56   16     critical of Ms. Hernandez or Mr. Cohen or their law firm

02:05:01   17     or plaintiff's counsel?

02:05:02   18         A.   No.

02:05:03   19         Q.   During the course of your conversations did you

02:05:06   20     discuss Ms. Hernandez or Mr. Cohen in any fashion?

02:05:11   21         A.   No, I don't think so.         No.

02:05:14   22         Q.   That is, other than the email where -- or, excuse

02:05:18   23     me, text message where Mr. Dillon said he had spoke with

02:05:23   24     them?

02:05:23   25         A.   Right.




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                                            Whitlock - Cross                            70


02:05:24    1         Q.   And following your receipt of that you confirmed

02:05:27    2     that he was not represented by them, right?

02:05:32    3         A.   Right.

02:05:33    4                     MR. HUNT:     Thank you, Ms. Whitlock.          I don't

02:05:35    5     have anything further.

02:05:36    6                     THE WITNESS:      Okay.

02:05:40    7                     THE COURT:     Any questions?

02:05:40    8                     MS. HERNANDEZ:       Yes, Your Honor.       Just a few

02:05:40    9     questions.

02:05:41   10                                       - - -

02:05:41   11                     ERIN WHITLOCK, CROSS-EXAMINATION

02:05:42   12     BY MS. HERNANDEZ:

02:05:42   13         Q.   Ms. Whitlock, did you tell Mr. Dillon in your

02:05:49   14     first telephonic discussion with him that you would be

02:05:52   15     recording the discussion?

02:05:53   16         A.   No.

02:05:55   17         Q.   Did you, before asking him questions about his

02:05:59   18     employment with defendant An, did you explain the nature

02:06:04   19     of the lawsuit?

02:06:05   20         A.   Again, that would be something that Sarah St.

02:06:10   21     Pierre would have gone over.           And, you know, I think we

02:06:15   22     had kind of a script for her to go over.               And that's why

02:06:20   23     when she called she wanted to make sure that he wasn't

02:06:23   24     confused with who we represented.             But I did not talk

02:06:26   25     about that, no.




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                                            Whitlock - Cross                                71


02:06:27    1         Q.    Did you explain that the action brought by Wai

02:06:35    2     Man Tom was brought as a collective class action?

02:06:37    3         A.    I did not, no.

02:06:39    4         Q.    Did you explain to him that he could be a

02:06:42    5     potential class member in the action?

02:06:45    6         A.    No.

02:06:47    7         Q.    Did you ask him if he was represented by counsel?

02:06:52    8         A.    I believe that Ms. St. Pierre had asked that.               I

02:06:57    9     did not, no.

02:07:00   10         Q.    Did you explain to him that upon completion of

02:07:07   11     the questions with him that you would be -- that you

02:07:13   12     would have him sign a declaration and that he would get

02:07:18   13     a copy of it prior to actually signing it?

02:07:26   14         A.    Are you speaking about when we met with him in

02:07:28   15     person?

02:07:29   16         Q.    First I'm speaking about your initial telephonic

02:07:32   17     discussion with him.

02:07:33   18         A.    Uh-huh.

02:07:36   19         Q.    Did you explain to him that you would be

02:07:39   20     gathering the information -- strike that question.

02:07:43   21               Did you explain to him the nature of why you

02:07:49   22     wanted to speak with him?

02:07:51   23         A.    I guess I'm not clear on your question.               I asked

02:07:56   24     him if he would be willing to give a statement.                  But at

02:07:59   25     that time we hadn't -- that was all I asked him in




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                                             Whitlock - Cross                          72


02:08:04    1     relation to my talking to him.

02:08:05    2         Q.   Okay.     Let me rephrase the question.           Did you

02:08:09    3     explain to him why you wanted to speak with him?

02:08:14    4         A.   I don't believe so.         I may have just said talk

02:08:19    5     about your employment.         I don't know.

02:08:24    6         Q.   And, Ms. Whitlock, turning your attention to the

02:08:30    7     Defendant's Exhibit Number 3, which are the text

02:08:39    8     messages between you and Mr. Justin Dillon.

02:08:44    9         A.   Uh-huh.

02:08:45   10         Q.   If you look at the very first page of the text

02:08:49   11     messages which I believe you started on March 14 -- am I

02:08:53   12     reading that correctly?

02:08:54   13         A.   Yes.    Uh-huh.

02:08:55   14         Q.   And I guess the first text message from you to

02:08:58   15     him was, "Hey Justin, it's Erin Whitlock.               We spoke last

02:09:03   16     week about the An case.          Do you have time to grab a

02:09:06   17     coffee or something on Monday?"

02:09:08   18              Did I read that correctly?

02:09:09   19         A.   Yes.

02:09:09   20         Q.   Then he answered, "That's fine, downtown?"

02:09:13   21              Did I read that correctly?

02:09:14   22         A.   Yes.

02:09:15   23         Q.   Then if you go down to the bottom where he

02:09:18   24     indicates, "Which one ... I work downtown, don't really

02:09:21   25     get to explore."




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                                            Whitlock - Cross                       73


02:09:22    1              Your response was, "Hahah.           Hear ya!"

02:09:25    2              Did I read that correctly?

02:09:27    3         A.   Yes.

02:09:27    4         Q.   Is that the way that you normally communicate

02:09:29    5     with putative plaintiffs in these types of cases?

02:09:34    6         A.   Yeah.    Yes, I guess.       I mean, I was just being

02:09:40    7     friendly.

02:09:42    8         Q.   And then if you look at the next page of the text

02:09:46    9     messages where he says, "See you Monday."

02:09:51   10              You say, "Okay cool see you there!"

02:09:54   11              Did I read that correctly?

02:09:55   12         A.   Yes.

02:09:56   13         Q.   Again, that's just the way you would normally

02:09:58   14     communicate with a putative class member, you

02:10:02   15     representing the defendant?

02:10:03   16         A.   Well, it's the way I would just communicate with

02:10:06   17     anybody.

02:10:07   18         Q.   But even in a professional context that's how you

02:10:10   19     would communicate with someone?

02:10:12   20         A.   Yes.

02:10:12   21         Q.   In an adversarial context?

02:10:15   22         A.   That's just how I would communicate with people

02:10:17   23     in general.      That's how I talk.

02:10:20   24         Q.   And during the course of your communications with

02:10:25   25     Mr. Dillon, both telephonically and in person, was there




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                                            Fishman - Direct                             74


02:10:32    1     an explanation about the allegations that were made in

02:10:37    2     the first amended complaint by Mr. Wai Man Tom?

02:10:41    3         A.    Not by myself.      I have understanding and was

02:10:44    4     present for one explanation.

02:10:52    5                     MS. HERNANDEZ:       Ms. Whitlock, I have no

02:10:54    6     further questions.

02:10:56    7                     MR. HUNT:     Nothing further, Your Honor.

02:10:57    8                     THE COURT:     You can step down.         Thank you.

02:11:00    9                     Any other witness?

02:11:01   10                     MR. HUNT:     Yes.    One brief witness, I think,

02:11:03   11     Your Honor.      Ms. Fishman.

02:11:43   12                     THE CLERK:     Please come forward and stand in

02:11:45   13     front of the clerk's bench.

02:11:48   14                     Place your left hand on the Bible and raise

02:11:50   15     your right hand.       State your name for the Court.

02:11:53   16                     THE WITNESS:      Jordan Fishman.

02:11:53   17                     THE CLERK: Spell your name for the Court.

02:11:56   18                     THE WITNESS:      J-o-r-d-a-n F-i-s-h-m-a-n.

02:12:01   19                     (Whereupon the witness was sworn by the

02:12:07   20     clerk.)

02:12:07   21                     THE CLERK:     Thank you.      Please take the

02:12:09   22     witness stand and be seated.

02:12:17   23                                       - - -

02:12:17   24                    JORDAN FISHMAN, DIRECT EXAMINATION

02:12:18   25     BY MR. HUNT:




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                                            Fishman - Direct                           75


02:12:18    1         Q.   Ms. Fishman, what do you do?

02:12:25    2         A.   Sorry?

02:12:26    3         Q.   What do you do?

02:12:27    4         A.   I'm an attorney.

02:12:28    5         Q.   Where do you work?

02:12:29    6         A.   I work at a law firm called Stokes Wagner.

02:12:33    7         Q.   Where is that located?

02:12:34    8         A.   It's -- well, I practice in Atlanta.              We have

02:12:37    9     offices all over the country.

02:12:39   10         Q.   You have worked on a case involving Wai Man Tom

02:12:44   11     and Brandon Kelly versus An, North Carolina Culinary and

02:12:53   12     SAS, and other defendants?

02:12:54   13         A.   Yes.

02:12:56   14         Q.   During the course of that work did you have an

02:12:59   15     occasion to speak with Justin -- a gentleman by the name

02:13:02   16     of Justin Dillon?

02:13:04   17         A.   Yes, I did.

02:13:05   18         Q.   When was the first time you spoke to Mr. Dillon?

02:13:09   19         A.   The first time I spoke with Mr. Dillon was on

02:13:12   20     March 19 around 2:30 in the afternoon at a Starbucks in

02:13:18   21     Raleigh.

02:13:19   22         Q.   How did you come to speak with him on that day?

02:13:23   23         A.   My paralegal, Erin Whitlock, had spoken with him

02:13:28   24     on the phone previously, and she set up the interview.

02:13:35   25         Q.   During the discussions with Mr. Dillon prior to




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02:13:40    1     the meeting, was he told that he -- one of the purposes

02:13:49    2     of the meeting would be to obtain a statement from him?

02:13:51    3         A.   Yes.     Erin Whitlock informed me that when she

02:13:55    4     spoke with him, she told him about the background of the

02:13:58    5     case and said that she -- we wanted to meet with him to

02:14:01    6     get a statement.

02:14:02    7         Q.   When you met with Mr. Dillon at Starbucks, did

02:14:06    8     you also tell him that?

02:14:08    9         A.   Sorry?

02:14:08   10         Q.   When you met with Mr. Dillon at the Starbucks,

02:14:11   11     did you also tell him that you wanted to obtain a

02:14:14   12     statement from him?

02:14:15   13         A.   Yes.

02:14:19   14         Q.   On that day who arrived first at the restaurant?

02:14:22   15         A.   Erin Whitlock and I arrived first at the

02:14:25   16     Starbucks and just sat down at one of the larger tables

02:14:30   17     there that had six chairs at it and set up our laptops.

02:14:37   18         Q.   Mr. Dillon arrived how much later?

02:14:40   19         A.   I don't recall exactly how much later.                 I think

02:14:44   20     it was five or ten minutes.

02:14:46   21         Q.   And how did you know it was him?

02:14:48   22         A.   He was kind of searching around.             He looked like

02:14:53   23     a person that was kind of searching around looking for

02:14:57   24     someone.     And he kind of walked over to us, and I think

02:14:59   25     we said, you know:        Justin?




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02:15:05    1               And he said:     Oh, hi.

02:15:07    2               And I think he said -- he either said:                Are you

02:15:10    3     Erin?     Or, Erin?

02:15:12    4               And we introduced ourselves.

02:15:15    5         Q.    How did you introduce yourself?

02:15:18    6         A.    Initially I stood up and I just said:             I'm Jordan

02:15:22    7     Fishman, nice to meet you.           And Erin shook his hand, I

02:15:26    8     shook his hand.       Then when we sat down I did a more

02:15:29    9     formal introduction.

02:15:30   10         Q.    Could you describe that more formal introduction

02:15:33   11     for us.

02:15:34   12         A.    My formal introduction was similar to

02:15:38   13     introductions I've done in the past with witness

02:15:42   14     interviews.      I said, you know:        Hello/good afternoon, my

02:15:45   15     name is Jordan Fishman.          I'm an attorney with Stokes

02:15:50   16     Wagner.     This is Erin Whitlock; she's my paralegal.                We

02:15:53   17     are representing defendants in this lawsuit that was --

02:15:58   18     I said:     Defendant An Asian Cuisine, a defendant in this

02:16:05   19     lawsuit that was brought by Brandon Kelly and Wai Man

02:16:10   20     Tom.

02:16:14   21         Q.    Did he appear to be confused in any way to you?

02:16:17   22         A.    No.

02:16:17   23         Q.    Did he ask you any questions about who you

02:16:19   24     represented?

02:16:20   25         A.    No.




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02:16:21    1         Q.   Did he express any uncertainty about who your

02:16:25    2     clients happened to be?

02:16:27    3         A.   No, he didn't ask any questions about who my

02:16:30    4     client was.

02:16:33    5         Q.   What occurred next?

02:16:34    6         A.   So I explained to him who we were and that we

02:16:41    7     represented the restaurant.           I then -- I said something

02:16:45    8     along the lines of:        I believe when you spoke with Erin

02:16:49    9     Whitlock she told you this is -- you meeting with us is

02:16:52   10     voluntary.      We greatly appreciate you taking time out of

02:16:55   11     your day to meet with us.          We just want to ask you a

02:16:59   12     couple questions about the factual allegations in the

02:17:06   13     complaint that was filed by the plaintiffs.                We're

02:17:09   14     interested in the truth and only the truth.

02:17:11   15              So I think I also advised him that I was taking

02:17:15   16     notes in real time on my laptop.            And I told him that

02:17:20   17     I'm going to take notes in real time so that I can try

02:17:23   18     to get as accurate of a statement as possible.

02:17:27   19         Q.   You said that at the outset of the conversation?

02:17:29   20         A.   Yes.

02:17:30   21         Q.   What kinds of questions or what kinds of topics

02:17:34   22     did you ask him about during your meeting?

02:17:37   23         A.   As I've done with other witness interviews, I

02:17:43   24     ask -- I kind of start with:           When did you work at An?

02:17:49   25     What was your position at An?             Where have you worked




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02:17:53    1     previously?

02:17:53    2              So he spent some time talking about his previous

02:17:58    3     employers and the positions he's held for his previous

02:18:01    4     employers.      I believe it's in his declaration he was a

02:18:06    5     Swiss Army knife for one of his employers.                I didn't

02:18:09    6     know what that meant, so I asked him.              Basically meaning

02:18:12    7     he had worked in every position in the restaurant.                   So

02:18:14    8     we talked about that for a while, and then started

02:18:19    9     focusing on:      Has he worked with Nick Pappas?               He said

02:18:25   10     he had; he said he trained with him.              I asked him about

02:18:28   11     what kind of training he did with Nick.               Then I got into

02:18:34   12     whether Nick was out in the front of the house.                   I asked

02:18:40   13     him for the facts regarding Nick and his involvement in

02:18:45   14     serving customers.        I asked him about the sushi chefs

02:18:51   15     and whether they spoke English, whether they interacted

02:18:55   16     with guests.      I asked him questions -- well, I guess at

02:19:00   17     the beginning when I told him what the lawsuit was

02:19:02   18     about, that it was about allegations regarding an

02:19:06   19     improper tip pooling arrangement, he expressed to me

02:19:11   20     that he, throughout the course of our interview, that he

02:19:14   21     thought all tip pools were illegal.             Obviously I didn't

02:19:19   22     feel inclined to give him legal advice on that. I just

02:19:22   23     said:    We've taken the position that the tip pool at An

02:19:25   24     was legal.      And so I think that was the majority of the

02:19:30   25     topics that we covered.




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02:19:32    1           Q.     How did the meeting end?

02:19:35    2           A.     The meeting ended with me saying, you know, thank

02:19:39    3     you so much for your time.           As I discussed earlier, I've

02:19:43    4     been typing all of this in real time on my laptop.                 I

02:19:47    5     want you to review everything that I've written to make

02:19:52    6     sure that it's 100 percent accurate.              If you believe

02:19:55    7     that I've misstated anything, please feel free to

02:19:58    8     correct it.        I'm going to literally hand you my laptop

02:20:02    9     so you can make any edits that you wish.

02:20:05   10                  So then I proceeded to turn my laptop around, and

02:20:09   11     he sat there looking at my laptop reviewing the

02:20:13   12     statement, which is, I believe, like, a page and a half

02:20:16   13     long.        And so he had the opportunity to change it

02:20:20   14     himself, but he actually asked me to make the changes.

02:20:23   15     So we kind of just looked on together, and he told me to

02:20:27   16     change the spelling of a restaurant that he had worked

02:20:30   17     at.        He told me to add Wai where I had just had Brandon

02:20:38   18     because he said he didn't want to single anyone out.                   So

02:20:41   19     I said okay, so I added Wai's name where I had Brandon's

02:20:46   20     name.

02:20:46   21                  Then he also asked me to change the wording of --

02:20:52   22     one of the paragraphs in the last page because I think

02:20:55   23     he said that he didn't like the way it sounded.                 So I

02:21:02   24     did all those changes that he asked me to do.

02:21:04   25                  And then Erin -- I said that our printer wasn't




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02:21:12    1     working, or Erin said -- one of us told him our printer

02:21:16    2     wasn't working, so we were going to go to the Marriott

02:21:20    3     next door to print out the statement.              So Erin went and

02:21:24    4     printed out the statement.           I sat there with him.

02:21:27    5              And I don't remember exactly what we discussed,

02:21:30    6     but we were talking about his family.              He talked about

02:21:32    7     his sister and how he looked up to her.               She had

02:21:36    8     multiple degrees.        And then he was talking about some

02:21:39    9     race that she runs where her and other people -- it's

02:21:43   10     kind of a social thing where they run, then they get to

02:21:47   11     a stopping point and drink a beer and keep running.              So

02:21:51   12     I don't remember what else we talked about, but I

02:21:53   13     remember us talking about his sister and her

02:21:56   14     accomplishments.

02:21:57   15              And then Erin came back from the Marriott with

02:22:02   16     the printed out statement, and he looked over the

02:22:07   17     statement again.       You know, I said:        Again, please look

02:22:10   18     over this, make sure it's accurate.             And then he signed

02:22:13   19     the statement.

02:22:19   20         Q.   You referred to him making a number of changes to

02:22:24   21     the affidavit.       Did the changes amount to two pages

02:22:27   22     worth of changes?

02:22:28   23         A.   No.

02:22:29   24         Q.   Did they amount to two paragraphs worth of

02:22:31   25     changes?




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02:22:32    1         A.   No.

02:22:33    2         Q.   Were they just a few words here and there that he

02:22:37    3     changed?

02:22:37    4         A.   Yes.     A few words here and there, then I deleted

02:22:41    5     a sentence, or I changed the wording of a sentence.

02:22:43    6         Q.   Toward the end of the meeting or as the meeting

02:22:46    7     was ended, what, if any, kind of gestures did Mr. Dillon

02:22:49    8     make?

02:22:51    9         A.   He --

02:22:54   10                      MS. HERNANDEZ:      Objection.     Form.

02:22:57   11                      THE COURT:     You can answer it.        Do you

02:23:01   12     understand the question?

02:23:03   13                      THE WITNESS:     Yes.

02:23:04   14         A.   He threw his middle fingers up and said:                F'

02:23:10   15     them.    And I believe that was in reference to An, saying

02:23:15   16     F' them to An.       And:     I hope Tom and Brandon, you know,

02:23:19   17     get money from this.

02:23:24   18         Q.   After he was shown the printed declaration, did

02:23:28   19     you give him an opportunity to review it?

02:23:30   20         A.   Yes.

02:23:32   21         Q.   How much time did he take to review the printed

02:23:35   22     declaration?

02:23:36   23         A.   Four or five minutes.           It wasn't long.        It was a

02:23:40   24     page and a half.       So I think four or five minutes.               He

02:23:43   25     could have had as much time as he wanted; I just sat




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02:23:46    1     back and let him read it.

02:23:47    2         Q.    Did he appear to be rushed in any way?

02:23:50    3         A.    No.

02:23:50    4         Q.    Did you tell him he had to be done by a

02:23:52    5     particular time?

02:23:53    6         A.    No.

02:23:53    7         Q.    Did you tell him you had to be somewhere at any

02:23:56    8     particular time?

02:23:57    9         A.    No.

02:23:57   10         Q.    Did he voluntarily end the meeting?

02:24:00   11         A.    Sorry.

02:24:01   12         Q.    Did he voluntarily end the meeting?

02:24:06   13         A.    Yes.     Right.    He signed is it, and then I think

02:24:10   14     we all casually said bye to each other, and I said thank

02:24:15   15     you.     It was a very casual ending to the meeting.

02:24:19   16         Q.    Have you had any further contact with Mr. Dillon

02:24:22   17     since that time?

02:24:23   18         A.    No.

02:24:26   19                      MR. HUNT:     Thank you, Ms. Fishman.          I don't

02:24:28   20     have any further questions.

02:24:29   21                      MS. HERNANDEZ:      Thank you, Your Honor I just

02:24:30   22     have a few follow-up questions for Ms. Fishman.

02:24:34   23                                       - - -

02:24:34   24                      JORDAN FISHMAN, CROSS-EXAMINATION

02:24:36   25     BY MS. HERNANDEZ:




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02:24:36    1         Q.   Would you prefer that I refer to you as Ms. Arkin

02:24:39    2     or Ms. Fishman?

02:24:40    3         A.   So, yes.     You can refer to me as Fishman.             Arkin

02:24:44    4     is on my declaration because I haven't legally changed

02:24:47    5     my last name yet, just due to flights being booked under

02:24:51    6     my unmarried name.

02:24:53    7         Q.   Thank you, Ms. Fishman.          Do you recall if in your

02:24:57    8     meeting with Mr. Dillon, did you hand him a copy of the

02:25:02    9     first amended complaint?

02:25:04   10         A.   I did not.

02:25:06   11         Q.   Did you explain to him the nature of the named

02:25:11   12     plaintiff's allegations against your clients, the

02:25:14   13     defendants?

02:25:15   14         A.   I generally explained it.          I didn't say there

02:25:18   15     were four counts in the complaint and these are the

02:25:21   16     counts in the complaint, but I said that a lawsuit was

02:25:23   17     brought by Brandon Kelly and Wai Man Tom against the

02:25:28   18     restaurant.      Basically they've asserted claims against

02:25:32   19     the restaurant based on an alleged improper tip pooling

02:25:36   20     arrangement or improper tip pooling practices.                  I said

02:25:40   21     one of the two.

02:25:41   22         Q.   Did you explain to them that it was brought as a

02:25:43   23     collective class action and that he could potentially be

02:25:47   24     a putative class member in this action?

02:25:50   25         A.   I don't recall if I did.




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02:25:54    1         Q.   Do you recall explaining to him that his rights

02:26:01    2     could be affected by speaking with you?

02:26:04    3         A.   No.

02:26:05    4         Q.   Did you ask him if he was represented by counsel?

02:26:09    5         A.   I don't recall if I did, but I have in my

02:26:19    6     previous interviews.         So sitting here today I don't

02:26:24    7     recall if I did, but I have before, so it makes me think

02:26:27    8     I probably did as my normal practice.

02:26:30    9              I do recall looking at PACER, it was either that

02:26:33   10     morning or the morning before that, and seeing that he

02:26:35   11     hadn't filed a consent to sue.

02:26:39   12         Q.   Do you recall asking him if he had a right to

02:26:43   13     have counsel present during the course of his discussion

02:26:46   14     with you?

02:26:47   15         A.   No.

02:26:47   16         Q.   Did you explain to him the purpose of the meeting

02:26:51   17     with you?

02:26:53   18         A.   I told him that the purpose of him meeting with

02:26:55   19     us is for us to find out the truth regarding the

02:26:59   20     allegations that were alleged in the complaint that was

02:27:03   21     filed against the restaurant.

02:27:05   22         Q.   Did you explain to him that the information that

02:27:08   23     you would be gathering could be used in this action

02:27:12   24     against the plaintiffs?

02:27:16   25         A.   I don't think I explicitly said:             The information




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02:27:20    1     you give us will be used against you.              But I did say

02:27:23    2     that we are collecting statements in connection with

02:27:26    3     this lawsuit.

02:27:28    4         Q.   So did you or did you not explain to him that you

02:27:32    5     would be utilizing those statements in this action?

02:27:36    6         A.   Yes, I did.      I said:     We plan on using these

02:27:41    7     statements in connection with the litigation.

02:27:43    8         Q.   You did explain that to him?

02:27:45    9         A.   Yes.

02:27:48   10         Q.   And just for the record, Ms. Fishman, that

02:27:51   11     information is not in your declaration, that you

02:27:55   12     specifically advised him of such information.

02:27:58   13                     MR. HUNT:     Objection.

02:28:00   14                     THE COURT:     Is that a question?

02:28:02   15                     MS. HERNANDEZ:       I'm sorry, Your Honor.

02:28:04   16     Strike that.      It's just a comment/statement/observation,

02:28:09   17     if you will.

02:28:10   18     BY MS. HERNANDEZ:

02:28:11   19         Q.   Now, did you also advise Mr. Dillon that he would

02:28:15   20     be -- he could take the declaration home with him to

02:28:18   21     review it before signing it?

02:28:20   22         A.   No.

02:28:24   23         Q.   Did you explain to him the nature of the

02:28:30   24     statement, signing under penalty of perjury and its

02:28:33   25     legal significance?




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02:28:35    1         A.   I made a comment about this being a sworn

02:28:40    2     statement, which is why I wanted it to be 100 percent

02:28:45    3     accurate and truthful.         And I believe that came up twice

02:28:49    4     during our conversation where I said:              I'm looking for

02:28:52    5     the truth.      I'm typing this up.        I hope it's accurate.

02:28:56    6     If it's not, this is a sworn statement, so I want you to

02:29:00    7     have the opportunity to correct it, correct any

02:29:03    8     misstatements.

02:29:04    9         Q.   So, Ms. Fishman, thank you very much for that,

02:29:07   10     but it's a very simple yes-or-no answer.               Did you

02:29:10   11     explain to Mr. Dillon the significance of that

02:29:14   12     statement, signing under penalty of perjury?

02:29:18   13                     MR. HUNT:     Objection.      Ambiguous.

02:29:20   14                     THE COURT:     Overruled.

02:29:22   15         A.   I explained to him that it was a sworn statement

02:29:26   16     that he was signing.         And I believe it also says "Under

02:29:29   17     penalty of perjury" right above where he signed.                 But

02:29:34   18     yes, I did explain to him that it was a sworn statement.

02:29:36   19         Q.   Did you explain to him what a sworn statement

02:29:39   20     means?

02:29:40   21         A.   No.

02:29:53   22         Q.   Did you also -- did you explain to him that by

02:29:57   23     speaking with you or signing that declaration under

02:29:59   24     penalty of perjury could actually -- could potentially

02:30:03   25     limit any potential rights that he might have in the




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02:30:05    1     action?

02:30:06    2         A.    No.

02:30:11    3                     MS. HERNANDEZ:       Ms. Fishman, thank you very

02:30:12    4     much.     I have no further questions.

02:30:15    5                     THE COURT:     Any redirect?

02:30:17    6                     MR. HUNT:     No, Your Honor.

02:30:18    7                     THE COURT:     Thank you.      You can step down.

02:30:20    8     And if you want to bring both your paralegal and have

02:30:23    9     the attorney stay in the courtroom at this point, I

02:30:26   10     don't think they're going to be recalled.

02:30:29   11                     MR. HUNT:     Thank you, Your Honor.

02:30:33   12                     THE COURT:     Any further evidence?

02:30:34   13                     MR. HUNT:     No, Your Honor, only that in

02:30:42   14     connection with our response, we did submit a

02:30:44   15     declaration from Ms. St. Pierre, who is the receptionist

02:30:50   16     in our office, and I would like the Court to receive

02:30:53   17     that into evidence.

02:30:54   18                     THE COURT:     Okay.    So noted.

02:30:58   19                     Anything else?

02:30:58   20                     MR. HUNT:     Other than that, no, Your Honor.

02:31:00   21                     THE COURT:     Do you want to make your closing

02:31:02   22     argument?

02:31:03   23                     MS. HERNANDEZ:       Yes, Your Honor.       Just a

02:31:04   24     couple of minutes.

02:31:09   25                     THE COURT:     You can be seated.         And we close




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02:31:11    1     off the screens now, take them down, having heard all

02:31:17    2     the evidence.

02:31:23    3                     MS. HERNANDEZ:       Your Honor, I think the

02:31:24    4     evidence here certainly shows that while this wasn't

02:31:30    5     anything like Quezada where people were being called

02:31:34    6     over a loud speaker and being asked to meet in some

02:31:38    7     room, dark room with just managers, the similarities

02:31:42    8     relate to the context of the information that was being

02:31:47    9     given to these individuals, the putative class members,

02:31:54   10     and insuring that they fully understood the nature and

02:31:58   11     the purpose of the meeting and how the evidence would be

02:32:01   12     used in their own involvement -- own potential

02:32:05   13     involvement in the action, Your Honor.

02:32:06   14                     THE COURT:     Don't you agree that I've got to

02:32:10   15     make some credibility decisions here?              Because there was

02:32:12   16     a very different picture painted by Mr. Dillon versus

02:32:16   17     painted by defense counsel and the paralegal from the

02:32:22   18     witness stand.       There was internal inconsistency within

02:32:27   19     the testimony of Mr. Dillon.           Do you want to talk about

02:32:33   20     that?

02:32:34   21                     MS. HERNANDEZ:       Your Honor, simply I think

02:32:38   22     that there are a lot of consistencies in terms of the

02:32:43   23     information based on the recording of the discussion,

02:32:48   24     the telephonic discussion.           And there's no indication

02:32:53   25     from Ms. St. Pierre's declaration that she fully




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02:32:59    1     explained the nature of the lawsuit to Mr. Dillon or

02:33:03    2     that Ms. Whitlock explained the nature of the lawsuit to

02:33:07    3     Mr. Dillon and how his rights could be affected.

02:33:09    4                     And this, Your Honor, is obviously very --

02:33:13    5     it's perplexing.       It is surprising because, again, given

02:33:18    6     the impending motion for conditional class

02:33:21    7     certification, it's important that counsel simply allow

02:33:27    8     the Court to rule on such a motion so that the notice

02:33:32    9     that is going out to these putative plaintiffs if the

02:33:35   10     Court, again, rules in granting the motion for notice

02:33:38   11     and certification that they're getting timely and

02:33:41   12     accurate notice and that they understand when they're

02:33:44   13     reading the notice how that can potentially affect them

02:33:48   14     in making decisions on whether or not they wish to

02:33:51   15     participate.

02:33:52   16                     But I think that in looking at all of the

02:33:56   17     evidence, including the testimony, I think that there is

02:34:00   18     a lot of information that just was not fully disclosed.

02:34:04   19     And from a third party kind of spectator position it

02:34:11   20     would suggest that defendants had basically had a desire

02:34:17   21     to somehow circumvent the Court's authority, usurping

02:34:22   22     the Court's authority in making a determination about

02:34:24   23     this collective class action whether or not to be

02:34:27   24     certified and giving people notice.

02:34:30   25                     So if the Court finds that the defendants'




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02:34:34    1     communications were, in fact, improper, plaintiffs ask

02:34:38    2     that the Court certainly grant the motion for protective

02:34:44    3     order, precluding prospective communications with

02:34:48    4     putative class members, essentially precluding the usage

02:34:53    5     of these declarations in support of a motion for partial

02:34:56    6     summary judgment that is anticipated in terms of filing

02:34:59    7     by the defendants or in opposition to plaintiff's motion

02:35:02    8     for conditional class certification.              And also that

02:35:09    9     these putative class members receive some sort of

02:35:11   10     corrective notice which can also be utilized in the

02:35:14   11     actual notice in support of the motion for class cert

02:35:20   12     should the Court grant it.

02:35:22   13                     This is now the third time, Your Honor, I've

02:35:24   14     had to file a motion for protective order.                And in both

02:35:27   15     cases there was more information given by defendant's

02:35:30   16     counsel than was done here.           So I hope, Your Honor, that

02:35:33   17     you will at least take all of the information, all of

02:35:35   18     the evidence into consideration and insure that there's

02:35:41   19     a levelled playing field, if you will.

02:35:45   20                     Thank you very much.

02:35:46   21                     THE COURT:     All right.      Thank you, counsel.

02:35:48   22                     Do you wish to be heard?

02:35:49   23                     MR. HUNT:     Yes, Your Honor.        Just briefly.

02:35:53   24     I think as Your Honor pointed out, there are some

02:35:57   25     internal inconsistencies in what Mr. Dillon said versus




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02:36:01    1     what he told the Court in the affidavit that plaintiff's

02:36:04    2     counsel filed with the motion.            For one thing, it

02:36:07    3     appears that he knew from the get-go that he was being

02:36:11    4     interviewed and talked -- or he was speaking with the

02:36:14    5     defendant's law firm.         And there really wasn't any

02:36:17    6     confusion in his mind as to where everybody stood and

02:36:21    7     what their relative positions were.             So he knew exactly

02:36:25    8     what the story was, so to speak, in terms of who was

02:36:29    9     asking questions and what kind of information was being

02:36:33   10     requested.      He also was aware of the lawsuit.               He'd

02:36:38   11     known that for at least a year.            Apparently he and Mr.

02:36:42   12     Kelly or he and Mr. Tom were friends, and apparently he

02:36:47   13     reached out to them right after his conversation with

02:36:50   14     Ms. Fishman.      Nevertheless, he went ahead and still

02:36:53   15     executed -- he didn't change the affidavit.                He'd

02:36:58   16     already signed it by that time.

02:37:00   17                     I think the facts show this was a completely

02:37:02   18     voluntary interview on his part.            There's no evidence of

02:37:06   19     any coercion.      There's no evidence of any promises to

02:37:10   20     him.    In fact, in terms of the questions that were

02:37:14   21     asked, if one reviews this transcript of the telephone

02:37:18   22     conversation, practically every single question is

02:37:21   23     either "how," "why," "what," "where," "when?"                   They're

02:37:26   24     all completely open-ended.           I don't think there's one

02:37:29   25     leading question in here.          None of these suggested any




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02:37:32    1     outcome.     They were simply attempts to obtain facts and

02:37:35    2     information from Mr. Dillon.

02:37:38    3                     And when Ms. Fishman or Ms. Whitlock met

02:37:42    4     with him, they proceeded to follow up on that

02:37:44    5     conversation.      Ms. Whitlock already had one.            And they

02:37:48    6     asked him more or less the same kinds of questions,

02:37:52    7     factual information about what his employment experience

02:37:55    8     had been with An.        And at the end of that conversation

02:37:58    9     they had him or asked him if he would sign a statement,

02:38:02   10     which he did.      And they gave him a chance to review it.

02:38:05   11     By his own admission, he did review it.               He claims he

02:38:08   12     made -- I think he said two pages worth of changes; Ms.

02:38:13   13     Fishman and Ms. Whitlock obviously say that's not true,

02:38:18   14     he changed a few words here and there, and that was the

02:38:21   15     extent of it.

02:38:22   16                     But I think even more, once the Court heard

02:38:28   17     Ms. Whitlock and Ms. Fishman's version of it, after this

02:38:31   18     was all said and done, and he had reached out to Ms.

02:38:35   19     Whitlock again, initially he said he wanted to make

02:38:38   20     changes to his affidavit.          Well, he didn't make any.           He

02:38:41   21     expressly said:       Well, no, I'm not going to make any

02:38:44   22     changes.     I think he said:        I was just sort of going

02:38:48   23     over it in my mind.        Well, that doesn't amount to

02:38:51   24     coercion.     It doesn't amount to undue influence.

02:38:53   25     There's nothing that occurred during the course of this




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02:38:56    1     interview that would be improper under the Manual for

02:39:00    2     Complex Litigation and its section on what kinds of

02:39:04    3     things defense counsel can ask during precertification

02:39:08    4     interviews.      I don't think there's anything that even

02:39:11    5     comes close to one of those.

02:39:13    6                     So with the greatest respect we urge that

02:39:16    7     the plaintiff's motion be denied.             I don't think it

02:39:21    8     meets -- comes anywhere close to meeting the high

02:39:23    9     standard that would require judicial intervention at

02:39:26   10     this point.

02:39:27   11                     I'd also add that at this point there are no

02:39:30   12     more witness interviews to be done.             We have reached the

02:39:34   13     point in the case where we're in the process of

02:39:37   14     responding to the plaintiff's motion for certification.

02:39:40   15     So the record, more or less, at this juncture is fixed.

02:39:43   16     And there really isn't anything to be gained from a

02:39:49   17     further order regarding communications outside of one

02:39:54   18     the Court might issue if it were inclined to grant the

02:39:57   19     motion for initial certification.

02:39:59   20                     So all that being said, we respectfully ask

02:40:01   21     that the motion be denied.

02:40:02   22                     THE COURT:     Okay.    Well, this could only be

02:40:17   23     decided with benefit of a hearing, and that hearing has

02:40:22   24     been held.      And I do not believe at this point in time

02:40:26   25     that involvement by the Court is appropriate, and so I




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02:40:29    1     deny the plaintiff's motion.

02:40:32    2                     There's not been sufficient credible

02:40:34    3     consistent testimony that would meet the standard for

02:40:37    4     Court intervention or for striking Mr. Dillon's

02:40:41    5     affidavit that defendant is going to rely on.                   These

02:40:48    6     weren't misleading or intimidating communications by the

02:40:53    7     defendant.      It is a finding that I make that Mr. Dillon

02:40:59    8     knew he was talking to defense counsel.               He knew that

02:41:03    9     based on the recorded -- the contacts with the law firm

02:41:09   10     by telephone, and it was reiterated to him at the

02:41:13   11     meeting at the Starbucks at the Marriott on Fayetteville

02:41:19   12     Street.     I find defense counsel's testimony very

02:41:22   13     convincing.      And I think ultimately Mr. Dillon admitted

02:41:26   14     it on the witness stand that he knew he was talking to

02:41:29   15     defense counsel; he knew there was a lawsuit involving

02:41:33   16     the restaurant.       And I don't find credible his testimony

02:41:37   17     that he had to revise two and a half pages of his

02:41:40   18     affidavit.      That's just not been shown.           Simply not

02:41:47   19     being clear on a certain point that would be a more

02:41:53   20     expansive explanation of the lawsuit or a more involved

02:41:58   21     explanation of Mr. Dillon's potential involvement

02:42:01   22     doesn't rise to the level of warranting a Court

02:42:05   23     intervention.      He knew there was a lawsuit against An.

02:42:09   24     He knew his testimony was going to be relied on.                   He had

02:42:14   25     an opportunity to review it, including the oath block,




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02:42:26    1     knowing -- with the opportunity to ask questions about

02:42:29    2     the sworn aspect of his testimony.             And when he asked

02:42:36    3     for his copy of his affidavit, it ultimately was

02:42:40    4     provided, and he didn't have any changes.

02:42:43    5                     I think he appears conflicted about what he

02:42:47    6     has or hasn't done in this case.            He's obviously friends

02:42:50    7     with the two individuals, Mr. Tom and the other.                And he

02:42:59    8     wasn't a very convincing witness in terms of a

02:43:06    9     presentation that this was coercive, intimidating

02:43:10   10     communication.       Really even by his own testimony he

02:43:13   11     undercut that.       So no, the relief that plaintiff

02:43:21   12     requests is not allowed.

02:43:23   13                     So in four days your response is due; is

02:43:28   14     that right?

02:43:28   15                     MR. HUNT:     Yes, Your Honor.        I believe it's

02:43:30   16     four business days.

02:43:32   17                     THE COURT:     So is there anything if we talk

02:43:33   18     about now might bring efficiencies to the case?                 Is

02:43:37   19     there anything, plaintiff, you can think about?

02:43:40   20                     MS. HERNANDEZ:       No, Your Honor, nothing from

02:43:42   21     the plaintiff.

02:43:43   22                     THE COURT:     Since we're all together.

02:43:44   23                     MR. HUNT:     Not pending the Court's ruling on

02:43:46   24     the upcoming motions, no, Your Honor.

02:43:53   25                     (Discussion had off the record.)




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02:43:53    1                     MR. HUNT:     Oh, I guess one item, Your Honor.

02:44:01    2     Your Honor, in the course of preparing our brief, we may

02:44:08    3     need an extension of the page limit, the number of

02:44:12    4     pages.    If the Court could give us ten additional pages

02:44:16    5     on the summary judgment motion, we would greatly

02:44:20    6     appreciate it.

02:44:21    7                     THE COURT:     And you're going to file that

02:44:23    8     within -- at the same time?

02:44:26    9                     MR. HUNT:     Yes.     What we're trying to do,

02:44:28   10     because a large number of exhibits are the same, we

02:44:32   11     wanted to make it --

02:44:33   12                     THE COURT:     It's a unified?

02:44:35   13                     MR. HUNT:     We were going to try to attempt

02:44:38   14     to do that so that the same exhibits for summary

02:44:41   15     judgment are the same exhibits in response to the

02:44:43   16     plaintiff's motion for --

02:44:46   17                     THE COURT:     But how does that affect your

02:44:47   18     briefing?

02:44:48   19                     MR. HUNT:     Oh, it doesn't.       I mean, we're

02:44:54   20     trying to -- we just need more pages for the motion for

02:45:01   21     summary judgment is all.

02:45:02   22                     THE COURT:     Okay.     The memorandum?

02:45:04   23                     MR. HUNT:     Yes, I'm sorry, the memorandum.

02:45:06   24                     THE COURT:     So you want an extra ten pages?

02:45:08   25                     Well, do you need anything?




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02:45:10    1                     MS. HERNANDEZ:       Your Honor, actually I would

02:45:12    2     like to respond to that.          I would certainly --

02:45:17    3     plaintiffs would not be opposed to such an extension to

02:45:19    4     the page limit.       However, I do want to address the

02:45:24    5     earlier question about efficiencies.

02:45:26    6                     Now, earlier in the litigation during a case

02:45:30    7     management discussion Your Honor indicated if plaintiffs

02:45:36    8     felt that certainly there was a reason to defer ruling

02:45:39    9     on a motion for summary judgment, that that could be

02:45:41   10     addressed.      In recent joint motions for extension of

02:45:46   11     time, plaintiffs have made clear that any sort of filing

02:45:52   12     by the defendants on the motion for partial summary

02:45:54   13     judgment would not necessarily preclude the plaintiffs

02:45:59   14     from filing a motion to hold such a brief in abeyance.

02:46:03   15     So the question, Your Honor, is whether or not we could

02:46:08   16     file that motion for -- to hold that briefing in

02:46:12   17     abeyance following the full briefing on the motion for

02:46:18   18     conditional class cert because what we were thinking at

02:46:21   19     this point was to file a motion to hold that briefing in

02:46:25   20     abeyance simultaneously with a response in opposition to

02:46:29   21     the motion for summary judgment in the event that the

02:46:33   22     Court would deny the motion to hold the briefing on

02:46:36   23     summary judgment in abeyance, then at that point the

02:46:41   24     Court would have plaintiff's opposition brief.

02:46:43   25                     Does that make sense, Your Honor?               I know




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02:46:46    1     that's a mouthful right there.

02:46:47    2                     THE COURT:     Okay.    So on the position of

02:46:51    3     holding briefing in abeyance to allow the Court to focus

02:46:56    4     on the certification issue, what's your response?

02:47:00    5                     MR. HUNT:     Well, Your Honor, I think because

02:47:04    6     of the nature of the summary judgment motion it may well

02:47:07    7     be that that will either eliminate or certainly cut into

02:47:14    8     the certification issue.          If the Court were to grant the

02:47:18    9     motion, that would moot the question of initial

02:47:21   10     certification, at least on part or all of it.                   I really

02:47:25   11     think that the proper way or the best way to address it

02:47:28   12     would be the way we agreed at the outset, which would be

02:47:32   13     to file the opposition to certification at the same time

02:47:36   14     we file the motion for summary judgment.               If the

02:47:39   15     plaintiff believes that she needs to file a Rule 56

02:47:45   16     request to --

02:47:46   17                     THE COURT:     Remind me, I agreed that you

02:47:49   18     could file your summary judgment motion on the same day

02:47:51   19     that you file your opposition to plaintiff's motion, or

02:47:55   20     did I set a schedule where you file your summary

02:47:58   21     judgment motion on the same day that she files her --

02:48:03   22                     MR. HUNT:     No, the schedule was that we

02:48:06   23     would file --

02:48:07   24                     THE COURT:     That's right, with the response.

02:48:09   25                     MR. HUNT:     Right.    When we respond to her




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02:48:11    1     motion for initial certification, then we also file for

02:48:14    2     summary judgment.        That's what's due in four business

02:48:17    3     days.     And we think that would be the best way to

02:48:20    4     proceed.

02:48:22    5                     MS. HERNANDEZ:       Your Honor, if I may just

02:48:23    6     briefly respond.        There was no specific deadline in

02:48:27    7     terms of defendant's motion for summary judgment and

02:48:30    8     when that would be filed.           The Court actually went ahead

02:48:33    9     and basically cited to some authority where plaintiffs

02:48:38   10     usually file their motion for conditional certification,

02:48:42   11     class certification first, then any sort of briefing on

02:48:46   12     merits usually comes in the second phase.

02:48:49   13                     Now, in your case management order you

02:48:51   14     indicated:      Having said that, though, this is not

02:48:54   15     necessarily precluding the defendant's filing of the

02:48:56   16     motion for summary judgment, but I will determine

02:48:59   17     whether or not it is appropriate in relationship to

02:49:02   18     plaintiff's motion for conditional class certification.

02:49:14   19                     THE COURT:      Which order was that?

02:49:17   20                     MR. HUNT:     I think she's referring to the

02:49:20   21     order --

02:49:20   22                     MS. HERNANDEZ:       I think it was in October,

02:49:22   23     and it might have been docket 70.

02:49:25   24                     THE COURT:      I've got that in front of me.     I

02:49:27   25     don't see -- I'm not seeing that language.




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02:49:39    1                     MS. HERNANDEZ:       My colleague, Michael Cohen,

02:49:41    2     is looking for that.

02:49:42    3                     THE COURT:      I've got it.      It's on page 2.

02:50:11    4                     So what I've got is an oral motion.              You're

02:50:14    5     making an oral motion here today?

02:50:15    6                     MS. HERNANDEZ:       That is correct, Your Honor.

02:50:17    7                     THE COURT:      And I can't decide it until I

02:50:20    8     see what the basis is for his summary judgment motion.

02:50:24    9     So you want me just to let it linger, then I'll make a

02:50:27   10     decision when I see his summary judgment motion.                 And

02:50:33   11     then when I make my decision -- do you want a chance to

02:50:37   12     brief it, or do you just want to -- I know the grounds

02:50:40   13     for your request.        And what I can do is just -- and I

02:50:47   14     know you oppose it.         And so what I can do is make my

02:50:51   15     decision when I see his motion whether or not I should

02:50:56   16     stay your response time or whether or not I feel I need

02:51:01   17     for you to go ahead and respond to it.               Then I'll

02:51:03   18     trigger your response time from the date that I make

02:51:06   19     that decision.       How about that?

02:51:08   20                     MS. HERNANDEZ:       Your Honor, I think that

02:51:09   21     would be perfect.        Just because otherwise we're going to

02:51:12   22     be responding and then filing an opposition brief in

02:51:15   23     conjunction with a motion -- the briefing in abeyance.

02:51:19   24     So I think that strategy is perfect.

02:51:22   25                     THE COURT:      All right.     So I won't expect to




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02:51:24    1     get any writing from you to convey your oral motion or

02:51:28    2     the reason for it.         I understand it.       I understand your

02:51:30    3     opposition.      I'll hold my decision on plaintiff's motion

02:51:35    4     to stay responsive briefing in abeyance until I see what

02:51:39    5     you have offered to the Court.            And then maybe it will

02:51:43    6     take me a week to focus on that.             And your time is not

02:51:49    7     ticking away; it won't start ticking until I enter a

02:51:52    8     short order.

02:51:53    9                     MS. HERNANDEZ:       Thank you, Your Honor.

02:51:54   10                     THE COURT:      Now, I want everybody, including

02:51:56   11     Ms. Collins, to spend a few minutes with Ryan Willett,

02:52:00   12     who is our IT coordinator here in New Bern.                It's not

02:52:05   13     going to satisfy the training requirement should this

02:52:09   14     case go to trial.        There's a separate training session.

02:52:12   15     He finds in his experience that if he gives it now, more

02:52:16   16     often than not it gets forgotten.             So it has to do with

02:52:20   17     dealing with the jury and that kind of thing.                    But he's

02:52:22   18     going to give you enough so that if we have another

02:52:25   19     hearing, it will go a bit more efficiently than it did

02:52:29   20     today for everybody.         Do you want a five-minute break

02:52:32   21     before he starts up?

02:52:35   22                     MR. HUNT:     Your Honor, if I may, I have a

02:52:38   23     personal -- I have a court appearance in New York

02:52:41   24     tomorrow that I need to catch an airplane for.

02:52:45   25                     THE COURT:      What time does your plane leave?




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02:52:47    1                     MR. HUNT:     I'm trying to get a 3:00 flight,

02:52:49    2     but it's from Raleigh.

02:52:51    3                     THE COURT:      You'd better get going.

02:52:53    4                     MR. HUNT:     If that would be okay.

02:52:54    5                     THE COURT:      Well, you get going.

02:52:56    6                     MR. HUNT:     I'd be happy to come back and

02:53:00    7     look forward to it.

02:53:01    8                     THE COURT:      You all can stay?         It benefits

02:53:03    9     you just if you would come to this district again.

02:53:07   10                     MR. HUNT:     Yes.

02:53:07   11                     THE COURT:      So go, catch your flight.        How

02:53:09   12     about you?

02:53:10   13                     MS. HERNANDEZ:       We can absolutely stay, Your

02:53:12   14     Honor.     We have no conflicts whatsoever.

02:53:13   15                     THE COURT:      Well, I don't make any

02:53:15   16     predictions as to whether -- but you'd better get on the

02:53:20   17     road.

02:53:20   18                     MR. HUNT:     Thank you, Your Honor.

           19                     (Concluded at 11:40 a.m.)

           20                                       - - -

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 2

 3         I certify that the foregoing is a correct transcript

 4     from the record of proceedings in the above-entitled

 5     matter.

 6

 7     /s/ Tracy L. McGurk_______                         ___4/28/18___

 8     Tracy L. McGurk, RMR, CRR                                Date

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